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  10                       UNITED STATES DISTRICT COURT
  11         CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
  12

  13 Retina Associates Medical Group, Inc.;     Case No. 8:18-cv-01997-DOC-KES
     and Acutecare Health System, LLC;
  14 individually and on behalf of all others   Assigned to Judge David O. Carter
     similarly situated,
  15                                            DEFENDANT’S BRIEF IN
                               Plaintiffs,      SUPPORT OF ITS MOTION TO
  16         vs.                                DISMISS THIS ACTION
                                                PURSUANT TO RULE 12(b)(6) or
  17   The Olson Research Group, Inc.,          STAY, TRANSFER, OR DISMISS
                                                THIS ACTION PURSUANT TO
  18                           Defendant.       THE FIRST-FILED RULE
  19                                            DATE:             March 18, 2019
                                                TIME:             8:30 a.m.
  20                                            COURTROOM:        D9
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 1         Defendant The Olson Research Group, Inc. (“Olson”) submits this Brief in
 2   support of its motion to dismiss the claims of Plaintiffs Acutecare Health System,
 3   LLC (“Acutecare”) and Retina Associates Medical Group, Inc. (“Retina”)
 4   pursuant to Federal Rule of Civil Procedure 12(b)(6) or to stay, transfer, or
 5   dismiss this action based on the first-filed rule.
 6                             PRELIMINARY STATEMENT
 7         The Telephone Consumer Protection Act of 1991 (the “TCPA”), as amended
 8   by the Junk Fax Prevention Act of 2005, was passed in response to “[v]oluminous
 9   consumer complaints about abuses of telephone technology.” Mims v. Arrow Fin.
10   Servs., LLC, 565 U.S. 368, 370-71 (2012). The TCPA, however, is narrow, and
11   does not apply to all unsolicited communications. The facsimile is an important
12   communication tool and Congress in no way intended to bar legitimate business
13   communications made through facsimile.           The statute thus applies only to
14   unsolicited advertisements. 47 U.S.C. § 227(b)(1)(C).
15         In recent years, plaintiffs have attempted to distort the TCPA beyond
16   comprehension, bringing baseless lawsuits arising out of faxes that do not advertise
17   any goods or services. These frivolous claims not only waste judicial resources, they
18   discourage businesses from using a legitimate technology to make useful
19   communications, putting them at risk of defending lawsuits that, while baseless, raise
20   the specter of catastrophic damage awards. If claims like this are permitted to
21   proceed, the only prudent course for businesses is to either (1) cease these legitimate
22   communications in their entirety or (2) pay extraordinary additional costs to use the
23   United States mail, taking technology back nearly half a century.
24         Olson is a marketing and consulting firm that helps companies develop new
25   products and services. One of the main ways Olson provides this advice is through
26   conducting market research studies. Olson serves a variety of industries, including
27   the pharmaceutical and healthcare industry. Olson’s clients are pharmaceutical and
28                                             -1-
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 1   medical-device companies, not medical providers like Plaintiffs. Olson does not sell
 2   anything to medical providers.
 3          Acutecare originally brought an identical suit against Olson in the federal
 4   district court for the District of New Jersey in August 2018 alleging the same TCPA
 5   violations it does here (the “New Jersey case”). See Exhibit 1 (attaching Acutecare’s
 6   New Jersey complaint against Olson).1 After Olson moved to dismiss, Acutecare
 7   voluntarily dismissed its New Jersey case and re-filed it here in the Central District of
 8   California, adding Retina as a co-plaintiff.
 9

10   1
            Federal Rule of Evidence 201(b) permits the Court to take judicial notice of a
11   document filed in another court to establish the fact of such litigation and related
     filings. See, e.g., Luviano v. Multi Cable, Inc., 2017 U.S. Dist. LEXIS 32349, at *11-
12   13 (C.D. Cal. Jan. 3, 2017) (taking judicial notice of court documents from another
13   case under Federal Rule of Evidence 201(b) because the “court documents at issue
     are the matters in the public record. Thus, these documents are proper subjects for
14   judicial notice.”). And courts may consider matters of public record on a motion to
15   dismiss. Coto Settlement v. Eisenberg, 593 F.3d 1031, 1038 (9th Cir. 2001).

16          Furthermore, the Court can consider the fax Olson sent Acutecare on May 30,
     2018 on this motion to dismiss without converting it into one for summary judgment
17
     because the May 30, 2018 fax is referenced in the Complaint and Acutecare’s claims
18   are predicated on it. See Knievel v. ESPN, 393 F.3d 1068, 1076 (9th Cir. 2005) (The
     “incorporation by reference doctrine…permits [the court] to take into account [on a
19
     motion to dismiss] documents whose contents are alleged in a complaint and whose
20   authenticity no party questions, but which are not physically attached to the plaintiff’s
     pleading. We have extended the [] doctrine to situations in which the plaintiff’s
21
     claim depends on the contents of a document, the defendant attaches the document to
22   its motion to dismiss, and the parties do not dispute the authenticity of the document,
     even though the plaintiff does not explicitly allege the contents of that document in
23
     the complaint.”) (citing In re Silicon Graphics Inc. Sec. Litig., 183 F.3d 970, 986 (9th
24   Cir. 2002); Parrino v. FHP, Inc., 146 F.3d 699, 705 (9th Cir. 1998)) (quotations
     omitted). “The court may treat such a document as ‘part of the complaint, and thus
25
     may assume that its contents are true for purposes of a motion to dismiss under Rule
26   12(b)(6).’” Marder v. Lopez, 450 F.3d 445, 448 (9th Cir. 2006) (quoting United
     States v. Ritchie, 342 F.3d 903, 908 (9th Cir. 2003)).
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 1          Acutecare’s allegations in this case are identical to those alleged in the New
 2   Jersey case, which both arise out of a single fax dated May 30, 2018, a portion of
 3   which was attached to its New Jersey complaint (the “Acutecare Fax”).2 Olson sent
 4   the Acutecare Fax to get feedback as part of the “DECART study, a randomized
 5   controlled trial to assess the clinical evaluation and management of pharmacotherapy
 6   regimens and whether a diagnostic test impacts clinical care decisions.” See Exhibit
 7   1. The Acutecare Fax is not an advertisement. It does not promote any goods or
 8   services, nor does Olson even offer any services that Acutecare could purchase.
 9   Quite the contrary: the Acutecare Fax offered to pay recipients, like Dr. Lebowitz,
10   for participating in the study.    In this jurisdiction, an informational fax is not
11   actionable under the TCPA. This action should be dismissed.
12          Retina’s allegations in this case are mirror images of Acutecare’s except Retina
13   alleges it received two faxes from Olson dated August 9, 2017 and October 3, 2017,
14   respectively (the “Retina Faxes”). The content of the Retina Faxes is remarkably
15   similar to the Acutecare Fax in that Olson also offered to pay the Retina recipient for
16   participating in a research study. See Exhibit 2 (attaching the August 9, 2017 Retina
17   Fax). Like the Acutecare Fax, the Retina Faxes are not advertisements actionable
18   under the TCPA.
19          The first-filed rule provides an independent basis on which this Court should,
20   at a minimum, dismiss, stay, or transfer this action to the United States District Court
21   for the Eastern District of Pennsylvania. The allegations here are virtually identical
22   to a matter pending there before District Judge Gerald J. Pappert, Fischbein v. The
23   Olson Research Group, Inc., No. 17-05601 (E.D. Pa., filed Dec. 14, 2017). Indeed,
24   Acutecare and Retina are encompassed within the putative class as pleaded in the
25
     2
26        Acutecare did not attach the complete fax to its New Jersey complaint; instead,
   it attached the first page of a two page fax. See Exhibit 1 at p.11 (Ex. A to New
27 Jersey complaint).

28                                             -3-
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 1   Fischbein case, and the class definition in the Fischbein case is virtually identical
 2   to the class definition in this case.      Thus, for reasons of comity and judicial
 3   economy, the Court should, at a minimum, dismiss, stay, or transfer this action in
 4   favor of the first-filed action pending in the Eastern District of Pennsylvania.
 5                        RELEVANT FACTUAL ALLEGATIONS
 6          Olson is a full-service marketing research firm, specializing in healthcare,
 7   consumer, and agricultural research. See www.olsonresearchgroup.com (last visited
 8   February 5, 2019).
 9          Plaintiffs’ lawsuit is based entirely on three faxes Olson sent to Dr. Robert
10   Ruper on August 9, 2017, and October 3, 2017, and to Dr. Howard Lebowitz on May
11   30, 2018, respectively, which sought these physicians’ participation in research
12   surveys. See Exhibits 1-2 (collectively, the “Faxes”). The Acutecare Fax sought Dr.
13   Lebowitz’s feedback in the “DECART study, a randomized controlled trial to assess
14   the clinical evaluation and management of pharmacotherapy regimens and whether a
15   diagnostic test impacts clinical care decisions.” Exhibit 1. Likewise, the Retina
16   Faxes sought Dr. Ruper’s feedback in an online survey regarding his “perceptions of
17   interactions with manufacturers in the ophthalmology market.” Exhibit 2. In the
18   Complaint, Acutecare and Retina describe Drs. Ruper and Lebowitz (the “Doctors”)
19   as their “representative[s],” but they do not elucidate upon the relationship.3 (Compl.
20   ¶¶ 13, 24.)
21          The Faxes includes the name and fax numbers of the Doctors at the top and
22 articulates their purpose right up front. For example, the Acutecare Fax states:
                 You are invited to participate in the DECART study, a
23               randomized controlled trial to assess the clinical evaluation
                 and management of pharmacotherapy regimens and whether
24

25   3
          If the Court does not dismiss this action for the reasons asserted herein, Olson
26 reserves its right to move to dismiss this action on Article III standing grounds
   because the Faxes were directed to Drs. Ruper and Lebowitz and not the named
27 Plaintiffs.

28                                             -4-
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                  a diagnostic test impacts clinical care decisions. The study
 1                is conducted by academic researchers and QURE
                  Healthcare, and sponsored by Aegis Corporation. Up to
 2                225 primary care physicians will be recruited to participate.
                  Findings from this national study could contribute to
 3                improved patient care quality. Results are expected to be
                  written and submitted to a national journal for publication.
 4

 5 Exhibit 1. Similarly, at least one of the Retina Faxes states:
               We are trying to understand your perceptions of interactions
 6             with manufacturers in the ophthalmology market by
               reaching out to a selected group of physicians of feedback.
 7             We request you to complete a 15 minute online survey that
               would help us understand this. Your participation would be
 8             extremely valuable in improving support services for
               ophthalmic conditions.
 9

10   Exhibit 2 (emphasis omitted). Both Faxes offers to pay the Doctors compensation
11   for the time it takes to complete the study (i.e., the Acutecare Fax offers to pay Dr.
12   Lebowitz $400, and the August 9, 2017 Retina Fax offers to pay Dr. Ruper $150).
13   Exhibits 1-2. There is no reference anywhere in the Faxes to services Olson sells or
14   could sell to providers such as Plaintiffs (or anyone else), nor is there any request that
15   Plaintiffs or the Doctors pay anything to Olson. The Faxes then list a website
16   (www.olsononlinesystems.com) and login information should the Doctors decide to
17   participate in the surveys. Id. The Faxes specifically note that they are directed to
18   the Doctors and not to anyone else. Id.
19         Thus, as is apparent from the face of the Faxes, Olson is not seeking to sell any
20   goods or services to the Doctors or Plaintiffs.        They simply seek the Doctors’
21   participation in research studies within their areas of specialization. Nevertheless,
22   Plaintiffs, trying to turn these Faxes into an unwarranted payday, bring two causes of
23   action under the TCPA, seeking to represent a nationwide class of similarly-situated
24   fax recipients:
25   ///
26   ///
27   ///
28                                              -5-
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                  All persons within the United States who did not have an
 1                established business relationship with Defendant and who
                  received any unsolicited advertisement from Defendant’s
 2                telephone facsimile machine or its agent/s and/or
                  employee/s to said person’s telephone facsimile machine,
 3                within the four years prior to the filing of the Complaint.
 4   (Compl. ¶ 35.)
 5                     RELEVANT PROCEDURAL BACKGROUND
 6          Plaintiffs filed their Complaint on November 8, 2018. (Doc. No. 1.) The
 7   substance of Plaintiffs’ allegations—that they received an unsolicited facsimile in
 8   violation of the TCPA—is the same as the plaintiff’s allegations in a case filed in
 9   December 2017 in the United States District Court for the Eastern District of
10   Pennsylvania, Fischbein v. The Olson Research Group, Inc., No. 17-05601 (E.D. Pa.,
11   filed Dec. 14, 2017). See Exhibit 3 (attaching a copy of the Fischbein complaint). 4
12   Indeed, the class definitions in the Fischbein case and this case are nearly
13   identical.
14          In Fischbein, the plaintiff alleged that he received an unsolicited facsimile
15   containing an invitation to participate in a market-research study, purportedly in
16   violation of the TCPA. Id. at ¶¶ 2-4. Like the Faxes here, the Fischbein fax: (i)
17   offered to compensate Dr. Fischbein for his time to participate in the study; (ii) did
18   not offer anything for sale to Dr. Fischbein; (iii) specifically states that “this study is
19   for marketing research only and not for any sales or marketing purpose;” (iv) assures
20   Dr. Fischbein that his “identity will be kept strictly confidential, and the information
21   [he] provide[s] will only be passed on to our client anonymously and in the
22   aggregate;” (v) provides a toll-free number if Dr. Fischbein has any questions about
23   the survey; and (vi) concludes by thanking Dr. Fischbein for his consideration and
24   includes a toll-free number and website for Dr. Fischbein to use if he would like to
25   opt-out from future study invitations. Id. at Ex. A. As here, Dr. Fischbein asserted a
26
     4
           The Court can properly consider the Fischbein complaint on a motion to
27   dismiss. See Footnote 1, supra.
28                                              -6-
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 1 putative class action for violation of the TCPA on behalf of the following:
                Each person sent one or more telephone facsimile messages
 2              after December 13, 2013 from “Olson Research Group”
                inviting them to participate for payment or compensation in
 3              a “marketing research study” through the website
                www.olsononlinesystems.com
 4

 5   Id. at ¶ 28. Crucially, the Faxes at issue here are encompassed by the proposed
 6   class definition in Fischbein.
 7          Olson moved to dismiss the Fischbein complaint for failure to state a claim
 8   pursuant to Federal Rule of Civil Procedure 12(b)(6). See Exhibit 4 (attaching a true
 9   and complete copy of the docket in Fischbein). Judge Pappert heard argument on the
10   motion on July 2, 2018. See Exhibit 5 (attaching a true and complete copy of the
11   oral argument hearing in Fischbein).5
12          During argument, Judge Pappert noted that many of the issues raised in the
13   Fischbein case were similar to those raised in Mauthe v. Nat’l Imaging Assocs., No.
14   17-1916, 2018 U.S. Dist. LEXIS 72906 (E.D. Pa. Apr. 25, 2018), where Chief Judge
15   Stengel granted a motion to dismiss on the basis that the underlying facsimile was not
16   an advertisement or pretext for an advertisement. The Mauthe case is currently on
17   appeal before the United States Court of Appeals for the Third Circuit, Mauthe v.
18   National Imaging Assocs., No. 18-2119 (3d Cir., filed May 18, 2018). As Judge
19   Pappert noted, if the district court decision is affirmed, it would likely be difficult for
20   the Plaintiff in Fischbein to survive a motion to dismiss. See Exhibit 5 at p.4. Thus,
21   that day, Judge Pappert entered an order placing the Fischbein matter on the civil
22   suspense docket pending a decision by the Third Circuit in Mauthe. See Exhibit 4 at
23   Doc. No. 19.
24   // /
25   ///
26
     5
           The Court can properly consider the Fischbein docket and hearing transcript on
27   a motion to dismiss. See Footnote 1, supra.
28                                              -7-
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 1                                        ARGUMENT
 2   I.     PLAINTIFFS FAIL TO STATE A CLAIM FOR A TCPA VIOLATION
 3          To survive a motion to dismiss under Federal Rule of Civil Procedure 12(b)(6),
 4   Plaintiffs’ allegations “must be enough to raise a right to relief above the speculative
 5   level.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007). And, although this
 6   Court must accept all well-pleaded facts as true and draw reasonable inferences in
 7   favor of the plaintiff, it need not accept, without more, legal conclusions
 8   masquerading as facts. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citing Twombly,
 9   550 U.S. at 555). “Threadbare recitals of the elements of a cause of action, supported
10   by mere conclusory statements, do not suffice.” Iqbal, 556 U.S. at 678 (citing
11   Twombly, 550 U.S. at 555). In addition, “where the well-pleaded facts do not permit
12   the court to infer more than the mere possibility of misconduct, the complaint has
13   alleged – but it has not ‘show[n]’ – ‘that the pleader is entitled to relief.’” Iqbal, 556
14   U.S. at 679 (quoting Fed. R. Civ. P. 8(a)(2)). To state a plausible claim, a plaintiff
15   must “provide the ‘grounds’ of his ‘entitle[ment] to relief’ [which] requires more than
16   labels and conclusions, and a formulaic recitation of the elements of a cause of action
17   will not do.” Twombly, 550 U.S. at 555 (citation omitted).
18          It is plain from the face of the Faxes that they are not an advertisement under
19   the TCPA.6 First, the Faxes do not seek to sell Plaintiffs any goods or services; they
20   6
           The Court may properly consider the Faxes on a motion to dismiss because
21   they are referenced in and integral to Plaintiffs’ claims in the Complaint. See
22   Footnote 1, supra; see also Scharff v. Raytheon Co. Short Term Disability Plan, 2007
     WL 2947566, at *9-10 (C.D. Cal. June 22, 2007) (“Here, because Paragraph 13 of the
23   Complaint refers to and quotes from the SPD, under the incorporation by reference
24   doctrine, the Court may properly consider Exhibit 1. Additionally, even if the
     Complaint did not refer to the SPD, the Court could still properly consider it since the
25   SPD document is integral to Scharff’s claims, and Scharff does not dispute its
26   authenticity.”); Pac. Rollforming, LLC v. Trakloc N. Am., LLC, 2010 U.S. Dist.
     LEXIS 60756, at *21 (S.D. Cal. June 18, 2010) (considering notice of rescission
27   attached to defendants’ motion to dismiss, because “even where the complaint does
28                                              -8-
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 1   simply request information and feedback in the form of participating in a research
 2   study. Second, the Faxes are not a “pretext” for future advertising. The mere
 3   mention of a website as a method to complete the survey does not make the survey an
 4   advertisement, particularly since there is nothing offered for sale to the Plaintiffs on
 5   that website. The Faxes therefore cannot constitute an “unsolicited advertisement”
 6   under the TCPA.
 7      A. The TCPA Prohibits Only “Unsolicited Advertisements.”
 8         The TCPA makes it “unlawful for any person within the United States . . . to
 9   use any telephone facsimile machine . . . to send, to a telephone facsimile machine, an
10   unsolicited advertisement.” 47 U.S.C. § 227(b)(1)(C) (emphasis added). The TCPA
11   defines an “unsolicited advertisement” as “any material advertising the commercial
12   availability or quality of any property, goods, or services which is transmitted to any
13   person without that person’s prior express invitation or permission, in writing or
14   otherwise.”    Id. at § 227(a)(5); see also 47 C.F.R. § 64.1200(f)(15).             An
15   advertisement is any material that promotes the sale (typically to the public) of any
16   property, goods, or services available to be bought or sold so some entity can profit –
17   the message must “promote a commercial product or service.” Phillips Randolph
18   Enters., L.L.C. v. Adler-Weiner Research Chi., Inc., 526 F. Supp. 2d 851, 852 (N.D.
19   Ill. 2007) (citing to In re the Rules & Regulations Implementing the Tel. Consumer
20   Prot. Act of 1991; Junk Fax Prevention Act of 2005, 21 F.C.C.R. 3787, at 3810 (April
21   6, 2006)). By contrast, under the TCPA, faxes that simply provide and collect
22   information are not advertisements. See ARcare v. IMS Health, Inc., 2016 U.S. Dist.
23   LEXIS 125262, at *12 (E.D. Ark. Sep. 15, 2016) (fax verifying contact information
24   not an advertisement); Mauthe v. Optum, Inc., 2018 U.S. Dist. LEXIS 125796, at *2
25   (E.D. Pa. July 27, 2018) (same), on appeal, No. 18-2894 (3d Cir., filed Aug. 24,
26
     not explicitly refer to the document, but the document is integral to the complaint and
27   the document’s authenticity is not disputed, the document may be considered.”).
28                                             -9-
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 1   2018).
 2         Whether a fax constitutes an advertisement under the TCPA is a question of
 3   law. N.B. Industries, Inc. v. Wells Fargo & Co., 2010 WL 4939970, at *11 (N.D.
 4   Cal. Nov. 30, 2010), aff’d, 465 F. App’x 640 (9th Cir. 2012). Therefore, courts
 5   routinely dismiss TCPA actions at the motion to dismiss stage where, as here, it is
 6   clear from the face of the fax that it is not an advertisement. See, e.g., Florence
 7   Endocrine Clinic, PLLC v. Arriva Med., LLC, 2017 U.S. App. LEXIS 9904 (11th Cir.
 8   June 5, 2017) (affirming grant of motion to dismiss where fax at issue was not an
 9   advertisement as a matter of law); Lutz Appellate Servs. v. Curry, 859 F. Supp. 180,
10   182 (E.D. Pa. 1994) (same).
11         Communications that provide, verify, or collect information are not
12   advertisements under the TCPA because they do not promote the sale of property,
13   goods, or services. E.g., N.B. Industries, 2010 WL 4939970, at *2 (fax containing
14   information about and applications for Asian business leadership award was not an
15   advertisement); see also Mauthe, 2018 U.S. Dist. LEXIS 72906, at * 5-6 (facsimile
16   seeking feedback on a transaction is not an advertisement).
17         Courts also have found that research surveys or trials offered in exchange for
18   compensation do not qualify as advertisements under the TCPA.               See Davis
19   Neurology, P.A. v. BSM DoctorDirectory.com, LLC, 2017 U.S. Dist. LEXIS 61469,
20   at *8 (E.D. Ark. Mar. 20, 2017) (fax inviting recipients to participate in market
21   survey in exchange for cash not an “unsolicited advertisement” under the TCPA),
22   rev’d on other grounds, 896 F.3d 872 (8th Cir. 2018); Phillips Randolph Enters., 526
23   F. Supp. 2d at 853 (invitation to participate in a research study not an advertisement);
24   Ameriguard, Inc. v. Univ. of Kan. Med. Ctr. Research Inst., 2006 WL 1766812, at *3
25   (W.D. Mo. June 23, 2006) (fax seeking participants in clinical research trial not an
26

27

28                                            - 10 -
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 1   “unsolicited advertisement” under the TCPA). 7
 2          On two occasions, the Ninth Circuit has considered whether a fax constitutes
 3   an advertisement under the TCPA. In both instances, the Circuit answered that
 4   question in the negative and affirmed dismissal of plaintiffs’ TCPA claims. In Supply
 5   Pro Sorbents, LLC v. RingCentral, Inc., 743 F. App’x 124, 124 (9th Cir. 2018), the
 6   defendant operated an online service that allowed customers to send faxes using a
 7   cover sheet that included the one-line statement: “Send and receive faxes with
 8   RingCentral, www.ringcentral.com, RingCentral®.” The district court dismissed the
 9   plaintiff’s TCPA claim, even though the one line did promote defendant’s services,
10   because it was of “de mininis size” and “FCC Rules and Regulations state that ‘a
11   reference to a commercial entity does not by itself make a message a commercial
12   message.’” Supply Pro Sorbents, LLC v. RingCentral, Inc., 2017 U.S. Dist. LEXIS
13   214838, at *5-6 (N.D. Cal. July 17, 2017) (citing FCC Rules and Regulations, 71
14   Fed. Reg. 25967-01, *25,973 (May 3, 2006)). The Ninth Circuit affirmed, finding the
15   one-line identifier was an “incidental advertisement” that did not convert the entire
16   fax into an advertisement. Supply Pro Sorbents, 743 F. App’x at 125.
17          More instructively, in N.B. Industries, Inc. v. Wells Fargo & Co., 465 F. App’x
18   640, 642 (9th Cir. 2012), the Ninth Circuit addressed faxes that invited applications
19   for an annual award sponsored by the United States Pan Asian American Chamber of
20   Commerce (USPAACC) and Wells Fargo Bank. The faxes also contained the award
21   application, included references to the defendants’ logos and websites, and instructed
22   that applicants would have to sign publicity releases, allowing the defendants to use
23   their name and pictures in promotional materials. See N.B. Industries, 2010 WL
24   4939970, at *4-5. The award came with a $5,000 grant and would be presented to the
25
     7
26       Olson has not located any cases in the Ninth Circuit that specifically consider
   whether research surveys or studies offering compensation for participation constitute
27 advertisements under the TCPA.

28                                           - 11 -
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 1   winners at the CelebrAsian Business Opportunity Conference, for which there was a
 2   fee to attend, although attendance was not required to actually win the award. Id. at
 3   *5-6.
 4           The district court granted the defendants’ motion to dismiss after finding that
 5   the faxes were not advertisements. The court noted that the FCC had identified four
 6   categories of materials that did not count as unsolicited advertisements within the
 7   meaning of the TCPA, including “informational” materials and materials with
 8   “incidental or de minimus advertising.” Id. at *14. In addition to finding that faxes’
 9   references to the defendants’ websites and logos were incidental, the district court
10   found the remainder of the faxes’ content was informational and were “merely
11   applications for an award.” Id. at *21.
12           The district court highlighted several characteristics of the faxes which pointed
13   towards them being informational. First, the court noted “[a]pplying is voluntary, no
14   fee is required, and the award winner does not need to attend the annual conference to
15   receive the award.”      Id. at *22.      Second, the court observed that “unlike an
16   advertisement soliciting customers for a product, the award here has selection
17   criteria.” Id. at *24. Third, the court explained that “offering a $5,000 award to be
18   presented at a conference (where attendance is optional) is very different than
19   [opportunities] that are really pretexts for advertisements.” Id. at *23-24. The court
20   likened the $5,000 award to cases where “participants in research studies [are] paid
21   for their time and travel or receive honoraria.” Id. at *25. Citing Phillips Randolph
22   and Ameriguard, the court reasoned that just like the faxes in those cases offering
23   payment for participation in surveys and research studies did not qualify as
24   advertisements, neither did the fax seeking applicants to win the $5,000 award. Id. at
25   *25-26.     The court rejected the plaintiff’s argument that the monetary award’s
26   “commercial benefit” transformed the faxes into ones that advertised a commercial
27   transaction within the reach of the TCPA:
28                                              - 12 -
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                  The inquiry is not whether there is an ancillary
 1                commercial benefit to either party but instead is whether
                  the message is an advertisement (or a pretext for an
 2                advertisement). Like the [survey and research study]
                  examples in the preceding paragraph, the application for
 3                an award is not an advertisement because it is not
                  “material advertising the commercial availability or
 4                quality of any property, goods, or services.”
 5
     Id. at *26 (citing 47 U.S.C. § 227(a)(5)).
 6
           On appeal, the Ninth Circuit affirmed, agreeing with the district court that the
 7
     faxes were “comprised almost entirely [of] information about [the award],” that “the
 8
     award itself [was] not commercially available,” and that the incidental advertisements
 9
     (websites and logos) in the faxes were “insufficient to transform faxes that were
10
     largely permissible into prohibited communications.” N.B. Industries, Inc., 465 F.
11
     App’x at 642-43. Therefore, “the faxes sent by Wells Fargo and USPAACC to N.B.
12
     were not, overall, advertisements within the meaning of [TCPA and] faxing them
13
     without N.B.’s permission did not violate the Act.” Id. at 643.
14
           The Sixth Circuit has also explained the difference between an informational
15
     fax and an advertisement in Sandusky Wellness Ctr., LLC v. Medco Health Solutions,
16
     Inc., 788 F.3d 218 (6th Cir. 2015). There, although the defendant, a pharmacy
17
     benefit manager, identified certain drugs and offered services such as “keeping and
18
     updating a list of medicines . . . that are available through a healthcare plan” in a fax,
19
     the court found that those drugs and services were not actually advertised for sale in
20
     the fax. Id. at 222. Rather, the faxes were “purely informational,” sent “to inform
21
     [the recipient] what drugs its patients might prefer” based on the list of medications
22
     compiled by defendant on behalf of various health plan sponsors, not medical
23
     providers such as the plaintiff. Id. Thus, “[u]nder the Act’s definition, and in
24
     everyday speak, [the faxes were] therefore not advertisements: They lack[ed] the
25
     commercial components inherent in ads.” Id.
26
           In a case similar to Sandusky, the Eastern District of Pennsylvania court
27

28                                                - 13 -
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 1   reached the same conclusion. See Mauthe v. Optum, Inc., 2018 U.S. Dist. LEXIS
 2   125796.8 In Mauthe v. Optum, Inc., the defendants sent the challenged fax to a
 3   health-care provider in order to verify the provider’s contact information for
 4   defendants’ national database of healthcare providers. Id. at 4. Defendants’ database
 5   was a product that was purchased by third-parties, usually “organizations that manage
 6   a health care network and pay claims,” but was not marketed to individual providers.
 7   Id. at 4-5. The court found that “unless they promote the sale of an item by drawing
 8   public attention to it, faxes sent in furtherance of indirect commercial solicitations or
 9   transactions with third parties are not unsolicited advertisements.” Id. at *11-12
10   (citing 47 U.S.C. § 227(a)(5)). The court further stated that “informational messages
11   and surveys do not violate the TCPA” unless they are pretextual. Id. at 10. In the end,
12   the court determined that “[t]he fax did not market the availability of a good or
13   service, nor was it a pretext for a larger scheme to market the availability of a good or
14   service. Id. at *2 (granting motion for judgment on the pleadings).
15          If the faxes in N.B. Industries, Sandusky, and Mauthe were “purely
16   informational,” there can be no doubt that the Faxes at issue here are also
17   informational. Sandusky, 788 F.3d at 222. Nothing mentioned in the Faxes are
18   “available to be bought or sold.” N.B. Industries, 465 F. App’x at 643. Indeed, there
19   is no allegation in the Complaint that Olson “has [any] interest whatsoever in
20

21   8
            This Mauthe v. Optum, Inc. case, although brought by the same plaintiff, is
22   different from the Mauthe case discussed by Judge Pappert at oral argument in
     Fischbein. Compare Mauthe v. Optum, Inc., 2018 U.S. Dist. LEXIS 125796 (E.D.
23   Pa. July 27, 2018) (dealing with a fax seeking to verify plaintiff’s information in
24   defendants’ database) with Mauthe v. Nat’l Imaging Assocs., 2018 U.S. Dist. LEXIS
     72906 (E.D. Pa. Apr. 25, 2018) (dealing with a faxed satisfaction survey). Plaintiff
25   Mauthe’s claims were dismissed in both cases, and he is currently appealing both
26   cases to the Third Circuit. See Mauthe v. Optum, Inc., No. 18-2894 (3d Cir., filed
     Aug. 24, 2018); Mauthe v. Nat’l Imaging Assocs., No. 18-2119 (3d Cir., filed May
27   18, 2018).
28                                             - 14 -
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 1   soliciting business from” medical providers, such as Plaintiffs. Sandusky, 788 F.3d at
 2   222. Like the defendants in Mauthe, Olson sells its services not to medical providers
 3   like Plaintiffs, but rather to corporate clients, i.e., pharmaceutical and medical-device
 4   companies. Id. Simply put, Plaintiffs “do[] not allege, nor do[] the fax[es] indicate
 5   where or how [any services are] available for purchase by the fax recipient[s].”
 6   ARcare, 2016 U.S. Dist. LEXIS 125262, at *8.
 7          Importantly, all the distinctions the Ninth Circuit made with regard to the
 8   informational faxes in N.B. Industries can also be made here: (1) participation in the
 9   research surveys and studies detailed in the Acutecare and Retina Faxes is voluntary
10   and no fee is required; (2) the Faxes explain on their face that the surveys and studies
11   have selection criteria, and the Doctors will need to qualify to participate; 9 and (3) the
12   fact that the Faxes offer monetary compensation to the recipients in exchange for
13   their participation makes these Faxes akin to the informational faxes in Phillips
14   Randolph and Ameriguard, which are not advertisements under the TCPA. Just
15   because an ancillary commercial benefit is being offered to the Doctors does not
16   transform these Faxes into a commercial advertisement within the reach of the TCPA.
17   On this basis alone, Plaintiffs’ TCPA claims should be dismissed.
18        B. The Faxes Are Not a Pretext for Future Advertisements.
19          The Faxes also are not a pretext for future advertisements. Although a “fax
20   that does not blatantly promote a product or service on its face may nonetheless
21   violate the TCPA if it is a precursor or pretext for a future advertising,” courts have
22

23   9
           The August 9, 2017 Retina Fax states that participation in the research study is
24   being sought from a “selected group pf physicians” and that “You must qualify…to
     receive this honorarium. There will be a few preliminary questions to determine
25   whether this study is a good fit for you.” See Exhibit 2. Likewise, the Acutecare Fax
26   reads that only “[u]p to 225 primary care physicians” will be recruited to participate
     in the DECART study and that “[t]here will be a few preliminary questions to
27   determine whether this study is a good fit for you.” See Exhibit 1.
28                                              - 15 -
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 1   also recognized that “an informational fax is not transformed into an advertisement
 2   simply by directing recipients to a website full of incidental advertisements.” Davis,
 3   2017 U.S. Dist. LEXIS 61469, at *6-9.
 4         For example, the Ninth Circuit in N.B. Industries examined a fax informing
 5   recipients they could apply for an award, but which also included references to a
 6   conference (for which attendees were charged a fee), as well as logos and slogans,
 7   contact information for the organizations, and an express invitation for recipients to
 8   visit two separate websites which, at the time, were “almost entirely an
 9   advertisement.” 465 F. App’x at 643. Affirming the lower court’s dismissal of the
10   TCPA claim, the Ninth Circuit found that this additional advertising “constituted such
11   a small portion of the faxes as to be incidental to the award application” and “[s]uch
12   de minimis advertising is insufficient to transform faxes that were largely permissible
13   into prohibited communications.” Id.
14         The reference to the survey website (www.olsononlinesystems.com) on the
15   Faxes here is even more innocuous than the website the Ninth Circuit dealt with in
16   N.B. Industries. First, there is no allegation that the web portal itself advertises
17   anything that Plaintiffs or the Doctors could buy. 10 Second, Plaintiffs do not allege
18   that Olson sells products and services to doctors like Drs. Ruper and Lebowitz
19   (because it does not). Olson cannot profit from Plaintiffs by directing the Doctors to
20   its survey web portal; indeed, Olson loses money if the Plaintiffs decide to participate
21   in the research survey. Thus, the Faxes cannot be a pretext for future advertisement.
22   E.g., Sandusky, 788 F.3d at 222 (emphasizing that although the fax at issue called
23   certain medications and services to the chiropractor’s attention, it did not “promote
24
     10
          Crucially, Olson’s survey web portal is NOT the company’s main website.
25 Compare Olson’s survey web portal at www.olsononlinesystems.com with Olson’s
26 company website at www.olsonresearchgroup.com. The survey web portal is simply
   a one-page website with empty fields for a study number and password to complete
27 the survey, nothing more.

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 1   the drugs or services in a commercial sense” because the faxes were “not sent with
 2   hopes to make a profit, directly or indirectly, from [the chiropractor] or the others
 3   similarly situated”).
 4         Accordingly, because the Faxes are neither an advertisement nor a pretext for a
 5   future advertisement, Plaintiffs’ TCPA claims fail as a matter of law.
 6   II.   IF THE COURT DOES NOT DISMISS THIS ACTION FOR FAILURE
           TO STATE A CLAIM, IT SHOULD BE DISMISSED, STAYED, OR
 7         TRANSFERRED PURSUANT TO THE “FIRST-FILED RULE.”
 8         This “first-filed rule” is a well-established doctrine based in comity requiring
 9   that when, as here, duplicative lawsuits are filed successively in two different federal
10   courts, the court where the action was filed first has priority. Pacesetter Sys. v.
11   Medtronic, Inc., 678 F.2d 93, 94 (9th Cir. 1982). Under the first-filed rule, a court
12   faced with the duplicative suit may dismiss, stay, or transfer the second suit. Id. at
13   94-95; see also Ross v. U.S. Bank Nat’l Ass’n, 542 F. Supp. 2d 1014, 1020 (N.D. Cal.
14   2008). As the Supreme Court long ago noted, the first-filed rule promotes “wise
15   judicial administration, giving regard to conservation of judicial resources and
16   comprehensive disposition of litigation.” Kerotest Mfg. Co. v. C–O–Two Fire
17   Equipment Co., 342 U.S. 180, 183 (1952); see also Alltrade, Inc. v. Uniweld Prods.,
18   946 F.2d 622, 625 (9th Cir 1991) (citing EEOC v. Univ. of Pa., 850 F.2d 969, 971 (3d
19   Cir. 1988) (noting that the rule “encourages sound judicial administration and
20   promotes comity among federal courts of equal rank so as to exercise forebearance to
21   avert conflicts and to avoid interference with the process of each other.”)).
22         The first-filed rule is not limited to “mirror image” cases where the issues
23   perfectly align. See EFG Bank Ag v. Lincoln Nat'l Life Ins. Co., 2017 U.S. Dist.
24   LEXIS 220049, at *10 (C.D. Cal. June 8, 2010) (“[T]he first-to-file rule ‘does not
25   require identical parties or issues, so long as the actions are substantially similar or
26   involve substantial overlap.’”) (quoting PETA, Inc. v. Beyond the Frame, Ltd., 2011
27   WL 686158, at *2 (C.D. Cal. Feb. 16, 2011)). Rather, the critical inquiry of the first-
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 1   filed rule is whether the subject matter of the later-filed case substantially overlaps
 2   with that of the earlier one. Id.; see also Kohn Law Grp., Inc. v. Auto Parts Mfg.
 3   Miss., Inc., 787 F.3d 1237, 1240 (9th Cir. 2015) (“The issues in both cases also need
 4   not be identical, only substantially similar.”); Cadenasso v. Metro. Life Ins. Co., 2014
 5   WL 1510853, at *32 (N.D. Cal. Apr. 14, 2014) (finding first-filed rule to apply
 6   because, inter alia, “both cases will turn on substantially similar issues”); PETA, Inc.
 7   v. Beyond the Frame, Ltd., 2011 WL 686158, at *4 (C.D. Cal. Feb. 16, 2011)
 8   (“Courts in the Ninth Circuit have adopted a flexible approach in evaluating the
 9   similarity of the parties and issues.”).
10         Here, the first-filed rule applies and, at a minimum, supports a dismissal, stay,
11   or transfer of this action because, while the plaintiffs differ, the underlying allegations
12   (supposed violations of the TCPA) are virtually identical.           Olson is the same
13   defendant in both actions and the proposed class definitions overlap. Ross v. U.S.
14   Bank N.A., 542 F. Supp. 2d 1014, 1020 (N.D. Cal. 2008) (“In a class action, the
15   classes, and not the class representatives, are compared.”).                 Under such
16   circumstances, courts routinely find that the first-filed rule applies and transfers or
17   stays the later-filed action. For example, in Kohn Law, the Ninth Circuit affirmed the
18   district court’s use of the first-filed rule to stay a later-filed action in the Central
19   District of California because:
20                Noatex and APMM are already in litigation in Mississippi
                  over the same funds Kohn Law seeks in this case. Because
21                Kohn Law stands in the shoes of Noatex, APMM’s defenses
                  in the present case against Kohn Law would, at the least,
22                substantially overlap with the issues in the Mississippi
                  interpleader action. The question Kohn Law asks the
23                Central District of California to resolve is at the “heart” of
                  the Mississippi interpleader action….If Noatex does not
24                recover funds in the Mississippi interpleader action, Kohn
                  Law will likely have no claim to those funds. And, if
25                Noatex does recover funds in the Mississippi interpleader
                  action, Kohn Law will likely recover funds. Not only does
26                the present case involve substantially similar issues as the
                  Mississippi interpleader action, the present case involves
27                the issue to be determined in the Mississippi interpleader
28                                              - 18 -
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                   action.
 1
     787 F.3d at 1241 (emphasis in original). Just like in Kohn Law, the heart of the issue
 2
     to be determined here – whether targeted faxes offering to pay for one’s participation
 3
     in a survey for research purposes qualify as “advertisements” under the TCPA – is
 4
     already being considered by the Eastern District of Pennsylvania. Moreover, the
 5
     Plaintiffs here would be part of the very same class in the first-filed Fischbein
 6
     action should that question be answered affirmatively and the case proceed to
 7
     discovery. The first-filed rule was designed to avoid intra-state conflicts and judicial
 8
     duplication in situations just like this one.
 9
            If the Court does not dismiss this action as a matter of law, then it should
10
     exercise its discretion here and dismiss, stay, or transfer this action pursuant to the
11
     first-filed rule.
12
                                          CONCLUSION
13
            A fax that promotes neither a product nor a service is not an advertisement.
14
     Rather, entirely informational faxes, like the ones here, which offer to pay its
15
     recipients for participating in a survey, do not fall within the purview of the TCPA.
16
     Plaintiffs’ Complaint must be dismissed as a matter of law.
17

18   ///
19   ///
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25   ///
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 1          Even if this action is not dismissed as a matter of law, comity and common
 2   sense dictate that it should be dismissed, stayed, or transferred to the Eastern District
 3   of Pennsylvania where a first-filed action alleging the same claims against the same
 4   defendant on behalf of the same class is already pending. Plaintiffs are already part
 5   of the putative class in the Fischbein action. Plaintiffs therefore should seek their
 6   relief in that first-filed action.
 7   Dated: February 7, 2019              BUCHANAN INGERSOLL & ROONEY LLP
 8

 9
                                          By: /s/ Kimberly Arouh
10                                             KIMBERLY AROUH
                                               JASMINE WETHERELL
11                                             Attorneys for Defendant
                                               The Olson Research Group, Inc.
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 1
                                 CERTIFICATE OF SERVICE
 2
              I certify that on the 7th of February, 2019, I filed the foregoing
 3
     DEFENDANT’S BRIEF IN SUPPORT OF ITS MOTION TO DISMISS THIS
 4
     ACTION PURSUANT TO RULE 12(b)(6) OR STAY, TRANSFER, OR DISMISS
 5
     THIS ACTION PURSUANT TO THE FIRST-FILED RULE with the Clerk of the
 6
     Court for the United States District Court, Central District of California, Southern
 7
     Division, by using the Court’s CM/ECF system, which will send notifications of such
 8
     filing to all counsel of record.
 9

10   DATED: February 7, 2019             BUCHANAN INGERSOLL & ROONEY LLP
11

12                                      By: /s/ Kimberly Arouh
                                             KIMBERLY AROUH
13                                           JASMINE WETHERELL
14                                           Attorneys for Defendant
                                             The Olson Research Group, Inc.
15

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     4841-0135-6166, v. 3
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              EXHIBIT 4




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                       UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF PENNSYLVANIA

                                 .
    Richard E. Fischbein,        .   Docket #CV-17-5601 (GJP)
                                 .
             Plaintiff,          .
                                 .   United States Courthouse
                vs.              .   Philadelphia, PA
                                 .   July 2, 2018
    The Olson Research           .   11:06 a.m.
    Group, Inc., et al.,         .
                                 .
             Defendants.         .
    .............................................................

                     TRANSCRIPT OF MOTION HEARING
                BEFORE THE HONORABLE GERALD J. PAPPERT
                  UNITED STATES DISTRICT COURT JUDGE


    APPEARANCES:

    For The Plaintiff:                Phillip A. Bock, Esq.
                                      Bock Hatch Lewis
                                      & Oppenheim, LLC
                                      134 N. LaSalle St.-Ste. 1000
                                      Chicago, IL 60602

    For The Defendants:               Samantha L. Southall, Esq.
                                      Buchanan Ingersoll & Rooney, PC
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                                      Philadelphia, PA 19102

    Audio Operator                    Jeff Lucini

    Transcribing Firm:                Writer’s Cramp, Inc.
                                      63 Dakota Drive
                                      Hamilton, NJ 08619
                                      609-588-8043

  Proceedings recorded by electronic sound recording, transcript
  produced by transcription service.




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                                                                         2

 1               THE COURT:    Ms. Southall, how are you?

 2               MS. SOUTHALL:    I’m doing well, Your Honor, how are

 3    you?

 4               THE COURT:    Good, thank you.    And Mr. Bock, how are

 5    you doing?

 6               MR. BOCK:    Good morning, Your Honor, thank you for

 7    having me.

 8               THE COURT:    Well, thank you.    So if I ever have the

 9    pleasure of presiding over a trial in this case, who is lead

10    trial counsel, you or Mr. Shanken?

11               MR. BOCK:    It would be me or another attorney from

12    my firm.

13               THE COURT:    What’s Mr. Shanken’s role in this?

14               MR. BOCK:    He is the -- he’s our co-counsel, he’s

15    the client contact, too.       So he’s a plaintiff’s -- he’s a

16    personal injury lawyer, but he also does class actions, and my

17    firm only does class actions.

18               THE COURT:    Okay, so you’re lead trial -- you or

19    someone from Bock Hatch Lewis & Oppenheim would be lead trial

20    counsel?

21               MR. BOCK:    Yes.

22               THE COURT:    Would Mr. Shanken have a role at a

23    trial?   Would he second chair or is he just --

24               MR. BOCK:    I think he would.    He’s a trial lawyer,

25    he’s not a class action trial lawyer, and there’s some




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 1    differences there, but --

 2               THE COURT:    Okay.     Okay.   So I guess one question

 3    that I’ve had, and one of the things I wanted to ask you to

 4    make your visit here as productive as possible, and I guess

 5    I’ll start with you, Mr. Bock, because unlike Ms. Southall,

 6    you are involved in the -- am I pronouncing it right --

 7    Mauthe, Mauthe --

 8               MR. BOCK:    Mauthe, yeah.

 9               THE COURT:    Mauthe case?      You can sit down, thanks.

10    So I have read, and Ms. Southall, I know you’ve seen that

11    opinion as well from Chief Judge Stengel.

12               MS. SOUTHALL:    Yes.

13               THE COURT:    And I have read Chief Judge Stengel’s

14    opinion and know also that it has been appealed.         And we had -

15    - let’s see, I know I had the appellate docket here.          The

16    latest action in the case has been something that’s not

17    available for my review on the docket, but -- well, at least I

18    guess I could dig into it, but I didn’t.         There has not been a

19    panel yet assigned.     There has not been a briefing schedule

20    yet assigned, correct?

21               MR. BOCK:    Correct, yes.

22               THE COURT:    Okay.   So as a practical matter, there

23    are a couple of issues, in fact, that neither of you touched

24    on, I don’t recall anyway, and if so, in not much detail in

25    your briefs.    And they are issues that I’m going to assume the




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 1    Third Circuit is going to take up as part of it’s decision in

 2    this case, and those are the Hobbs Act and Chevron deference,

 3    among other things; whether this constituted an ad, whether

 4    this court has to apply the FCC rule, whether the Hobbs Act

 5    divests me of jurisdiction, Chevron deference, all that great

 6    stuff.   So the practical question is why should I decide this

 7    case now?    How does it benefit either of the parties for me to

 8    decide this case now?     And we can get into this last question

 9    in a little bit greater detail, but if Judge Stengel is

10    affirmed -- and you can think about this, Mr. Bock, as we go

11    through this exercise today -- but if Judge Stengel were to be

12    affirmed, how would you get past a motion to dismiss in this

13    case, or whether the Third Circuit’s ruling in that case would

14    likely make this an easy one for me to just, you know, grant?

15    So that’s one argument.      I know you’ve got some distinctions

16    you’ll probably want to argue, but as a practical matter, I

17    throw out both to counsel.      One option that we have here, and

18    very candidly, it’s the most attractive option to me for a

19    whole host of reasons, is to put the case in civil suspense

20    pending a ruling from the circuit in the Mauthe case.          I am

21    not a big civil suspense guy.       I don’t like putting cases in

22    civil suspense.    The lawyers forget about them.       The judge

23    even forgets about them from time to time.        And I really don’t

24    like doing that.     It’s just my personal view; my colleagues, I

25    have colleagues who disagree and use civil suspense on a




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 1   grander scale.     But this is one case where it seems like a

 2   real no-win for the court.        Because I could write my typically

 3   absolutely freaking brilliant opinion on this case, and the

 4   circuit, if the affirm Judge Stengel, may end up being a me-

 5   too for me, and if they reverse Judge Stengel and send it

 6   back, that, too, doesn’t seem to be to my advantage if I were

 7   to grant the motion.      So I throw that out.     Preliminary

 8   thoughts from anybody on any of that stuff, big-picture stuff?

 9   I hate to hit you with practical big-picture stuff, but these

10   are the things I think about.

11               MR. BOCK:    As you said, I was prepared to talk about

12   differences between this case and that case.

13               THE COURT:   Right.

14               MR. BOCK:    If we win that appeal or lose that

15   appeal, I think is still a different case.         It depends on what

16   the Third Circuit says --

17               THE COURT:   Yes, and how they say it and what issue

18   -- I mean, look, I’m assuming -- and I shouldn’t do this --

19   the circuits that have taken this up -- actually, Sandusky

20   didn’t, but the Fourth Circuit did, really got into the whole

21   Hobbs Act and Chevron deference.         And there are judges

22   upstairs on both sides of the aisle who have very strong views

23   on Chevron deference and The Administrative Procedures Act and

24   all that.    And, you know, it very well could -- this could be

25   an issue that creates a precedential opinion in our circuit if




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 1    they wade into that.     And candidly, I don’t know why they

 2    wouldn’t, but maybe they’ll find a way to distinguish Judge

 3    Stengel’s case from the need to do that.        What do you think,

 4    Ms. Sounthall?

 5               MS. SOUTHALL:    I do think that makes some sense,

 6    Your Honor.    I would be interested to see how the Third

 7    Circuit comes out on that --

 8               THE COURT:    Right.

 9               MS. SOUTHALL:    -- as opposed to the Fourth Circuit.

10    And also, I’m aware of a petition currently pending before the

11    FCC involving M3.     That case was stayed down in the Southern

12    District of Florida --

13               THE COURT:    Oh, okay.

14               MS. SOUTHALL:    -- pending a petition.      I do --

15               THE COURT:    Could you send that -- where would be

16    find that?

17               MS. SOUTHALL:    Let me give you the cites.

18               THE COURT:    Yes.

19               MS. SOUTHALL:    I found it --

20               THE COURT:    Connor, we didn’t see that one yet, did

21    we?

22               THE CLERK:    (Indiscern.).

23               THE COURT:    The M3 case, but not the petition and --

24    okay.

25               MS. SOUTHALL:    Here, let me --




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  1              THE COURT:    Yes.

  2              MS. SOUTHALL:    I’ve got the cite for you right here.

  3              THE COURT:    Okay.

  4              MS. SOUTHALL:    I found it while preparing, and it

  5   said maybe --

  6              THE COURT:    Was it in your brief, did I overlook it?

  7              MS. SOUTHALL:    It was not --

  8              THE COURT:    Oh, okay.

  9              MS. SOUTHALL:    -- I found it while preparing today -

10    -

11               THE COURT:    Okay.

12               MS. SOUTHALL:    -- for today.

13               THE COURT:    Okay.

14               MS. SOUTHALL:    Give me one second --

15               THE COURT:    Sure.

16               MS. SOUTHALL:    -- I just had it.     Which means I

17    can’t find it.

18               THE COURT:    That’s okay, I mean, even if you can --

19               MS. SOUTHALL:    I got it, I just --

20               MR. BOCK:    The case is cited in our brief.

21               MS. SOUTHALL:    Yeah --

22               THE COURT:    Yes, the case itself, I’ve seen.

23               MS. SOUTHALL:    The petition is at -- it’s a Lexus

24    cite.   Here, wait, why don’t I do this.       May I approach?

25               THE COURT:    Sure, absolutely.




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 1               MS. SOUTHALL:    I can just give you my copy.

 2               THE COURT:    Yes, absolutely.    Yes -- oh, thanks,

 3    Connor.

 4               MS. SOUTHALL:    So here’s the description of the

 5    petition and then the four issues that are before the FCC.

 6    And, I mean, I think Mr. Bock is involved with that case as

 7    well.

 8               THE COURT:    Right.

 9               MS. SOUTHALL:    My understanding is that all the

10    comments have been submitted for some period of time, probably

11    within the last year, and we’re just waiting to hear back from

12    Mr. Pai’s commission.

13               THE COURT:    Okay.    Okay.

14          (Pause in proceedings)

15               MS. SOUTHALL:    And in that instance, the court

16    stayed the case pending what --

17               THE COURT:    How many other --

18               MS. SOUTHALL:    -- the FCC did.

19               THE COURT:    -- circuits have taken it up?      I know

20    Six, Four, Ninth --

21               MS. SOUTHALL:    Ninth.

22               MR. BOCK:    Have taken up whether something is an

23    advertisement?

24               THE COURT:    Correct, and/or the Chevron deference

25    issue.




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  1              MR. BOCK:    Eight took up Chevron in Walberg.

  2              THE COURT:    Right.

  3              MR. BOCK:    There’s an Eighth Circuit opinion about

  4    is it an advertisement, it’s a per curium.        There’s an

  5    Eleventh Circuit.

  6              THE COURT:    Okay.

  7              MR. BOCK:    Nothing in the Third, Seventh, First,

  8    Second.

  9              THE COURT:    Okay.    Well, I’ll tell you what, I want

 10    to make this -- I thought about, perhaps too late -- and

 11    that’s on me -- I thought about getting you on the phone and

 12    saying is there any need for you to come in?        Should we just

 13    stay this?   I didn’t think about that in time.        I did my prep

 14    over the weekend.     And now let’s just make your attendance

 15    here as productive as we can.      We’ll have any argument on all

 16    the issues, we’ll -- Mr. Lucini, we’ll order a copy of the

 17    transcript, doesn’t have to be expedited, and we’ll put that

 18    in our file.    And then I really do think it might be best for

 19    everybody if we sit -- and I wish -- I don’t like civil

 20    suspense, and I particularly am not thrilled with the fact

 21    that it’s just recently gone up.       If it’s an NPO, a non-

 22    precedential opinion, we could probably get a decision by the

 23    fall.   If it is going to be scheduled for oral argument, and

 24    likely a precedential opinion, that could take us into later

 25    in the year, maybe even early next year.        That’s not optimal,




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 1    but I just don’t know how much sense it makes for me to try to

 2    weigh in on this when I know that guys upstairs are going to

 3    weigh in on it.     But I really do want to hear you out on both

 4    sides of this case.     We’ve read the briefs.      And I’ve read

 5    Sandusky, I’ve read Chief Judge Stengel’s opinion as well.

 6    I’ve read the Fourth Circuit opinion.        And then Mr. Maloney

 7    here has read some more and we’ve discussed them.         So I’ll

 8    tell you what, Ms. Southall, it’s your motion.         If you don’t

 9    mind coming up --

10               MS. SOUTHALL:    Sure.

11               THE COURT:    -- and we can have it out and then

12    decide how we --

13               MS. SOUTHALL:    Take it from there?

14               THE COURT:    What makes the most sense, yes.

15               MS. SOUTHALL:    Okay.   Good morning, Your Honor.

16               THE COURT:    Good morning.

17               MS. SOUTHALL:    My name is Samantha Southall, and I

18    am here today on behalf of defendant Olson Research Group.           In

19    April of this year, Olson Research filed a motion to dismiss

20    plaintiff’s class action for failure to state a claim.          And as

21    Your Honor is aware, the complaint contains two counts:          One

22    for violation of the TCPA and a second for conversion.          More

23    specifically, the complaint alleges that on May 17th of last

24    year, plaintiff received an unsolicited fax which is attached

25    to the complaint as Exhibit A.       Dr. Fischbein seeks to




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 1    represent a class of people who received an unsolicited fax

 2    for the four years before plaintiff filed his complaint --

 3                THE COURT:   And is it -- are we -- is it the one

 4    fax?

 5                MS. SOUTHALL:   The one fax.

 6                THE COURT:   Okay.   And I won’t get into the class

 7    issues now, but we’re talking about that May 27 -- May 17,

 8    2017 fax.

 9                MS. SOUTHALL:   Correct, one fax.

10                THE COURT:   Okay.

11                MS. SOUTHALL:   And that fax invited Dr. Fischbein to

12    participate in a market research study and directed him to a

13    website, which is www.olsononlinesystems.com.         So the basis of

14    our motion is two-fold.      First, the one fax at issue is not an

15    advertisement under the TCPA, and second, plaintiff hasn’t

16    sufficiently stated a claim for common law conversion under

17    Pennsylvania law.

18           So for context, a good place to start might be to talk

19    about what Olson Research does and how it’s business model is

20    different than the typical TCPA defendant.        Simply put, it’s

21    not consumer facing.     It doesn’t sell goods or services that

22    are used by consumers.      It is a market research firm which is

23    retained by pharmaceutical companies, healthcare companies,

24    agribusiness and animal health companies, among others.          One

25    portion of its market research is market research involving




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 1    physicians, and one portion of the physician research is done

 2    through sending faxes out to physicians’ offices and inviting

 3    them to participate in a study.         As compensation for

 4    participating in the study, the physician receives an

 5    honorarium of $150.

 6               THE COURT: How long has that been going on?        Was

 7    that honorarium developed as a result of some of the

 8    litigation around this statute, or has that been the business

 9    model for quite some time?

10               MS. SOUTHALL:    That’s been the business model for

11    quite some time.     And it’s one component.      They reach people

12    in other ways as well.

13               THE COURT:    Now, the plaintiff here, of course, now

14    says that that payment elevates this to a commercial

15    transaction.    Are you aware of any other cases where there has

16    been a payment --

17               MS. SOUTHALL:    Yes.

18               THE COURT:    -- like this?

19               MS. SOUTHALL:    Yes.   There are two that we found --

20               THE COURT:    Right.

21               MS. SOUTHALL:    -- Phillips Randolph Enterprises out

22    of the Northern District of Illinois, which is cited in our

23    brief.

24               THE COURT:    Right.

25               MS. SOUTHALL:    And Davis Neurology out of the




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 1    Eastern District of Arkansas from last year, which is also

 2    cited in our brief.

 3               THE COURT:    Right, okay.

 4               MS. SOUTHALL:    Those are the two cases, and in both

 5    situations the court found that it’s not an advertisement.

 6    They were both market research studies where the participant

 7    received money.    And in both instances, I can confirm --

 8               THE COURT:    Was the fact that the participant

 9    received money a material part of the court’s decision?

10               MS. SOUTHALL:    No.

11               THE COURT:    No.    It’s just that this is almost the

12    next level to making sure that the goods -- I mean, even the

13    goods and services, according to the FCC, that are offered for

14    free --

15               MS. SOUTHALL:    Right.

16               THE COURT:    -- can be an add.

17               MS. SOUTHALL:    Correct.

18               THE COURT:    This is even the next level, right?

19               MS. SOUTHALL:    Correct.

20               THE COURT:    Okay.

21               MS. SOUTHALL:    Correct.

22               THE COURT:    Okay.

23               MS. SOUTHALL:    And this is very attenuated and very

24    far afield from what the TCPA was intended to be.         I mean,

25    when it was enacted in 1991, it was enacted, as Senator




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 1    Holland said, to prevent the scourge of telemarketing calls at

 2    a time when we all had a phone on our wall and it would ring

 3    incessantly during the dinner hour.       That’s not what this case

 4    is.   We -- Olson does not sell anything that plaintiff can

 5    use, that plaintiff’s patients can use.        It is not offering a

 6    free seminar, a free directory, it’s merely asking plaintiff

 7    to participate in a market research study.

 8               THE COURT:    And the market research that Olson then

 9    gathers is disseminated how to its clients?

10               MS. SOUTHALL: It is aggregated, put into a report

11    and shared with the client.

12               THE COURT:    Okay, and then --

13               MS. SOUTHALL:    There is no personally identifiable

14    information that is transmitted to the client.

15               THE COURT:    And the clients obviously pay Olson for

16    this data, this information?

17               MS. SOUTHALL:    Correct.

18               THE COURT:    Okay.   Okay, and then they use -- the

19    clients use that as they see fit to govern their business

20    strategy, et cetera.

21               MS. SOUTHALL:    Correct.

22               THE COURT:    Okay.

23               MS. SOUTHALL:    Correct.    I mean, so this is not like

24    the cases that plaintiff cites, for the most part, where the

25    defendant is selling something that the fax participant can




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 1    use.

 2               THE COURT:    Or --

 3               MS. SOUTHALL:    Or can recommend to his patients.

 4               THE COURT:    Or referring them to a website where the

 5    defendant would then end up possibly selling something

 6    directly to the plaintiff.

 7               MS. SOUTHALL:    Correct.      Correct.   I mean, if you

 8    look at the website, which is attached to the complaint --

 9               THE COURT:    Right.

10               MS. SOUTHALL:    -- it says, “We are a market research

11    company for pharmaceuticals and others.”         We don’t sell

12    medical devices like the Stryker cases and things of that

13    nature.   I mean, the Arkansas case, the Davis case, and the

14    Phillips Randolph case really are on all fours.          And what’s

15    interesting about Phillips Randolph is it cites Judge Bartles

16    opinion in Lutz, which I’m sure you are familiar with, which

17    remains good law.     So the two courts in this district which
18    have weighed in on the issue have found that faxes like this

19    are not advertisements.

20               THE COURT:    Right.   Okay.

21               MS. SOUTHALL:    So, you know, if you look at these

22    four cases, which are really the closest four to what we have,

23    Lutz, Phillips Randolph, Judge Stengel’s recent opinion and

24    the Davis opinion, there are four reasons why this is not an

25    advertisement.    It’s offering an opportunity to participate in




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 1    a research study in exchange for an honorarium.         It’s not

 2    offering a free good, it’s not a free steak dinner, it’s not a

 3    free directory.    It’s not attempting to market to plaintiff or

 4    plaintiff’s patients --

 5               THE COURT:    And there is nothing on the website to

 6    which plaintiff is directed that could in any way be

 7    interpreted as an effort to sell anything to the plaintiff?

 8               MS. SOUTHALL:    We’re strictly business to business.

 9    Plaintiff couldn’t automatically participate in the study.

10    They have to answer a few threshold questions to make sure

11    they’re a good fit for the study; it’s something that’s

12    specifically targeted, it’s not a pretext.        As you just said,

13    the website just says we are a market research company, we’re

14    not looking to sell you something else.

15          And the fax also -- if you look at the fax itself, it

16    doesn’t say what Olson Research really does or who comprises

17    it’s customer base.     So at the end of the day, we are a small

18    business which does market research for other businesses.

19    Plaintiff isn’t going to hire us.       I mean, there’s no reason

20    for him to, we don’t have services that he would need.          His

21    patients are not going to hire us, we don’t have services that

22    they need.    So we’re not advertising to them.

23               THE COURT:    I’ll probably have the same question for

24    Mr. Bock, but let’s talk a little bit about this FCC rule,

25    okay?   Am I required to apply that or may I first or should I




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 1    first look to whether the definition of unsolicited

 2    advertisement is, on the facts of this case anyway, ambiguous

 3    before I even get to the FCC rule?       And I guess this, then,

 4    gets into that Hobbs Act issue which Judge Stengel didn’t talk

 5    about, you guys didn’t talk about, and then I read the Fourth

 6    Circuit and I’m thinking what’s this all about, right?

 7               MS. SOUTHALL:    Right.   It’s a law school question.

 8               THE COURT:    Yes, it is.    And I didn’t like them then

 9    and I don’t like them know.      So what role, if any, does the

10    FCC rule play in my analysis and eventual decision here?

11               MS. SOUTHALL:    Well, I think you start with the

12    language of statute, the language of the TCPA.         And that if

13    you look, the language of the statute says an unsolicited

14    advertisement is any material advertising a commercial

15    availability or quality of any property, goods or service

16    which is transmitted to any person without that person’s

17    express invitation or permission.       And I think the FCC’s

18    rulings are a nice overlay, and under their rule, this is not

19    an advertisement.

20               THE COURT:    Well the fax is -- unquestionably the

21    fax is a survey --

22               MS. SOUTHALL:    Correct.

23               THE COURT:    -- right.   And I guess your point would

24    be if the fax is a survey, then the only way it could be an

25    advertisement under the FCC rule is if it qualified as a




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 1    pretext --

 2               MS. SOUTHALL:     Correct.

 3               THE COURT:    -- to an advertisement.

 4               MS. SOUTHALL:     Right.   It’s not promoting a

 5    commercial product or service.

 6               THE COURT:      Right, okay.   Okay.

 7               MS. SOUTHALL:     So, I mean, you may not need to get

 8    there.   And maybe that’s the reason Chief Judge Stengel didn’t

 9    get there, because he didn’t need to.

10               THE COURT:    I may not need to get there but -- your

11    position is A) I may not need to get there, and B) if I ever

12    have to, it’s not an advertisement even if I apply the FCC

13    rule because the only way it could be one would be to be a

14    pretext and it is not.

15               MS. SOUTHALL:     Correct.

16               THE COURT:    What about the Hobbs Act?      Does that

17    divest me of jurisdiction from making that decision in the

18    first instance?

19               MS. SOUTHALL:     I don’t think so.    I don’t think so.

20               THE COURT:    Okay.    Okay.

21               MS. SOUTHALL:     And the petition that’s pending

22    before the FCC from that M3 case is very interesting because

23    it’s these four -- it’s this type of case.

24               THE COURT:    Right.

25               MS. SOUTHALL:    You know, when you have a market




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 1    research survey, it’s not an advertisement under the rule.           So

 2    I’m curious to see what Commissioner Pai does with that.

 3               THE COURT:    Now, you obviously haven’t yet opposed

 4    plaintiff’s motion for class cert.

 5               MS. SOUTHALL:    Right.

 6               THE COURT:    If the complaint survives dismissal,

 7    would you at some point oppose that or --

 8               MS. SOUTHALL:    I think we need to get into more

 9    facts first --

10               THE COURT:    Yes.

11               MS. SOUTHALL:    -- with the client --

12               THE COURT:    Okay.

13               MS. SOUTHALL:    -- on that.

14               THE COURT:    Okay.

15               MS. SOUTHALL:    I mean, we’re really at this

16    threshold issue right now of --

17               THE COURT:    Have any of these cases ended up being

18    certified?

19               MS. SOUTHALL:    Yes.

20               THE COURT:    Okay.

21               MS. SOUTHALL:    In the consumer context definitely.

22    And there’s a lot of cases out there --

23               THE COURT:    I mean in this context.

24               MS. SOUTHALL:    In this context --

25               THE COURT:    Yes.




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 1               MS. SOUTHALL:    -- I haven’t seen one yet.      I don’t

 2    know if Mr. Bock has.

 3               MR. BOCK:    I don’t think so.

 4               THE COURT:    Have any of them gotten that far yet?

 5               MR. BOCK:    Not that I know of, Your Honor.

 6               THE COURT:    Okay.    Okay.   Okay.   I didn’t mean to

 7    interrupt you --

 8               MS. SOUTHALL:    No, that’s okay, I’m done --

 9               THE COURT:    Oh, you’re done, okay --

10               MS. SOUTHALL:    -- unless you have some other

11    questions.

12               THE COURT:    -- well let me -- let me look.      Connor,

13    was there anything -- did you have any other questions?          Let

14    me look back through.      No, I don’t think so either.      Let me

15    look quickly through.      I think the cases I read gave me more

16    questions for Mr. Bock than for you.        Okay.

17               MS. SOUTHALL:    Okay.

18               THE COURT:    Thank you very much.

19               MS. SOUTHALL:    Thank you.

20               MR. BOCK:    Good morning, Your Honor.     May it please

21    the court, Phillip Bock for plaintiff.

22               THE COURT:    Yes.    So the big issue -- one of the

23    distinctions does appear to be, let’s start with Ms.

24    Southall’s point that there is nothing that her client could

25    or would, at any point along the timeline, sell to your client




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 1    or his patients.     Is she incorrect, or if she is correct, why

 2    isn’t that dispositive of your case?

 3               MR. BOCK:    She might be correct, but it’s not

 4    dispositive because the TCPA doesn’t only prohibit advertising

 5    to sell things to people, it also prohibits trying to buy

 6    things from people.

 7               THE COURT:    And that’s --

 8               MR. BOCK:    The Sandusky v. Medco case --

 9               THE COURT:    Yes.

10               MR. BOCK:    -- which was one that said this isn’t an

11    advertisement.

12               THE COURT:    Right.

13               MR. BOCK:    They said so to be an add, the fax must

14    promote goods or services to be bought or sold and it should

15    have profit as an aim.      Well, this fax --

16               THE COURT:    Where is that?

17               MR. BOCK:    -- is -- I’m sorry, Your Honor.

18               THE COURT:    No, no, no, do you have that specific

19    cite?

20               MR. BOCK:    Yes, I do.

21               THE COURT:    I have the opinion in front of me.

22               MR. BOCK:    It’s 222, page 222.

23               THE COURT:    Of course I’ve got the Westlaw version

24    here.   Let me find 222.     Got it.    So material that advertises

25    something promotes it to the public as for sale.         Must be




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 1    commercial in nature.       All right, run that by me again now

 2    because we have -- and is this your argument, that the fact

 3    that they offered to pay your client $150 --

 4                MR. BOCK:    Yeah, 200 bucks an hour --

 5                THE COURT:    Now, explain that one a little more to

 6    me.

 7                MR. BOCK:    Okay, so this guy’s a psychiatrist, he’s

 8    a medical doctor.       He provides opinions to people in exchange

 9    for money, that’s what he does; people pay him for his medical

10    opinions.    They send him a fax saying, hey, we will pay you

11    for you medical opinion; 200 bucks an hour, you fill out an

12    online survey.

13                THE COURT:    I thought it was $150 --

14                MR. BOCK:    It was 145 for 45 minutes.

15                THE COURT:    Okay, so --

16                MR. BOCK:    I’m not math guy --

17                THE COURT:    -- but are you claiming that the same

18    opinion that Olson is requesting through it’s survey questions

19    is analogous to the opinions that your doctor provides his

20    patients?

21                MR. BOCK:    A difference in degree or, you know, one

22    those things.    It’s not the same opinion, but they only want

23    Dr. Fischbein’s opinions, and they want his opinions about

24    something that he knows as a professional, and they’re trying

25    to buy them from him.       And he didn’t know that.    Maybe if




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  1   somebody would send you something saying, hey --

  2              THE COURT:    So how many --

  3              MR. BOCK:    -- if you got any extra opinions --

  4              THE COURT:    -- of these TCPA cases have been brought

  5   by plaintiffs from whom marketers or sellers of products have

  6   been seeking to buy something from them?

  7              MR. BOCK:    That’s a good question.

  8              THE COURT:    Oh, it’s a really good question.

  9              MR. BOCK:    Well, look, I -- so --

10               THE COURT:    A potentially dispositive question.

11               MR. BOCK:    For good or bad, I do a lot of junk fax

12    cases, and I see a lot of junk faxes.        One of them I see all

13    the time is “We buy classic automobiles,” “We buy used cars.”

14               THE COURT:    Okay.

15               MR. BOCK:    Why don’t we sue them?     We can’t even

16    find them and they probably don’t have any money, so --

17               THE COURT:    Well, those aren’t --

18               MR. BOCK:    -- we’re not going to waste people’s time

19    --

20               THE COURT:    Neither one of those reasons really

21    carry a lot of weight with me in terms --

22               MR. BOCK:    But to me, it is an advertisement.

23               THE COURT:    -- of the analysis I have to do.       For

24    you trying to make a buck, I get that, but -- and I don’t say

25    that disparagingly, all lawyers are trying to make a buck.




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 1    But let’s get back to my question --

 2               MR. BOCK:    But it’s an advertisement because it’s

 3    offering to buy something from people.

 4               THE COURT:    Yes, but okay, let’s --

 5               MR. BOCK:    Okay.

 6               THE COURT:    -- gear it back a step.

 7               MR. BOCK:    Okay.

 8               THE COURT:    I understood the TCPA, and I had a lot

 9    of work at the state level in a prior life on this, the people

10    calling up during dinner typically weren’t asking to pay me --

11    at least I never got these calls -- weren’t asking to pay me

12    to sell something to them.

13               MR. BOCK:    Maybe, they could -- yeah, I understand

14    what you’re saying.     But a commercial transaction is two ways,

15    and their argument is that as long as the product is only

16    going this way, it’s not an ad and --

17               THE COURT:    Well, I don’t --

18               MR. BOCK:    -- if it goes that way, it is.

19               THE COURT:    -- know that that’s their argument, I

20    think that that’s what the statute says, right?         What does --

21    does the TCPA prevent someone from calling me to try to buy

22    something from me, like legitimately, not a scam --

23               MR. BOCK:    Yes, it does.

24               THE COURT:    -- to try to buy something from me.

25    Okay, what part of it --




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  1              MR. BOCK:    If they send you a fax.     It’s any

  2   material that’s advertising the commercial availability or

  3   quality of any property, goods or services.

  4              THE COURT:    Yes, but don’t you think the statute is

  5   written from the perspective of it’s the person sending you

  6   the fax that’s trying to sell something, that’s advertising

  7   something for sale, i.e. to get you to buy it?

  8              MR. BOCK:    No.

  9              THE COURT:    Why?    What basis do you have for saying

10    that?

11               MR. BOCK:    Because there’s no reason to make that

12    conclusion.    My --

13               THE COURT:    Have any courts made the same conclusion

14    that you are making?

15               MR. BOCK:    Not that I’m aware of, but I know --

16               THE COURT:    In the country.

17               MR. BOCK:    -- that Sandusky specifically says for it
18    to be an add, the fax must promote goods or services to be

19    bought or sold.     And it must -- and it should have profit as

20    an aim.

21               THE COURT:    Okay.

22               MR. BOCK:    And that’s the bad circuit opinion.       We

23    don’t run into Chevron problems here because we agree it’s a

24    commercial aim behind this fax.

25               THE COURT:    But again, don’t you think, when it says




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 1    bought or sold, isn’t that kind of two ways of covering the

 2    same sort of transaction, i.e. the guy bugging you who’s

 3    trying to sell you something?

 4                MR. BOCK:    Yeah, that’s what they’re doing here.

 5    They’re trying to bug you to buy something from you.

 6                THE COURT:   I know, but that was a different

 7    question.

 8                MR. BOCK:    Well, bought or sold.    I don’t -- I think

 9    bought or sold --

10                THE COURT:   But isn’t bought or sold two ways --

11                MR. BOCK:    -- are flip sides of the same --

12                THE COURT:   -- to try covering -- two ways to try

13    and cover the same thing, that is to prevent someone from

14    calling you to try to get you to buy something from them?

15                MR. BOCK:    That’s not how I read it, no, Your Honor.

16                THE COURT:   Well, I know how you read it.

17                MR. BOCK:    No, I mean, I don’t know how to --

18                THE COURT:   I’m more concerned with how I’m going to

19    read it --

20                MR. BOCK:    I know, I know.

21                THE COURT:   -- and I guess the question is I

22    understand your reliance on the language “bought or sold,” and

23    my question is, and I think maybe you answered it but I want

24    to be sure, have there been any courts in the country -- and I

25    know you’re a national practitioner in this area -- any courts




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 1    in the country which have dealt with purported TCPA violations

 2    when the person contacting the consumer is trying to pay the

 3    consumer for something as opposed to the money going the other

 4    direction?

 5               MR. BOCK:    I mean, the M3 decision denied a motion

 6    to dismiss, I don’t really remember the reasons right now, if

 7    the judge said it was because they were trying to buy

 8    something from the recipient or if it was because of the

 9    possibility that somebody would be selling them something in

10    the future, which is something we argue here.

11               THE COURT:    Right.

12               MR. BOCK:    But they do advertise the commercial

13    availability of their surveying services.

14               THE COURT:    Of course they do.

15               MR. BOCK:    They say we do this, we have people who

16    pay us to send you this thing.

17               THE COURT:    Of course they do, but it’s not your

18    client or his patients.      Nor, as I understand the structure of

19    their organization, could it ever be.

20               MR. BOCK:    I understand.    No, I understand.

21               THE COURT:    So you’re conceding that there is no way

22    that your client or his patients could ever, at any point, be

23    able to, even if they wanted to, buy something from Olson,

24    correct?

25               MR. BOCK:    No, I wouldn’t concede that.




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 1                THE COURT:    Okay, what could your client -- what is

 2    Olson, in your view, purportedly selling or offering to sell

 3    to your client or any of his patients?

 4                MR. BOCK:    We don’t allege that they’re offering to

 5    sell something to Dr. Fischbein or his patients, but I would

 6    imagine if Dr. Fischbein had the money and wanted to

 7    commission a paid survey, he could hire them.         They’ve told

 8    him that that’s what they do.       Maybe one of his patients is

 9    into something like that and he says, hey, I got this fax,

10    this people -- you said you need somebody who send surveys out

11    --

12                THE COURT:    But why --

13                MR. BOCK:    -- I just saw something --

14                THE COURT:    Why would -- okay, that would be --

15                MR. BOCK:    He didn’t know about it until --

16                THE COURT:    -- purely voluntary, I just --

17                MR. BOCK:    -- they sent the fax telling them.

18                THE COURT:    I’m trying to understand your theory of

19    the case.

20                MR. BOCK:    Well, the direct advertisement theory is

21    they are telling Dr. Fischbein that they will buy his valuable

22    medical opinions.       They’re telling him --

23                THE COURT:    Right.

24                MR. BOCK:    -- about the quality and -- the

25    commercial availability and quality of services they will buy




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 1    from him, just like if they said --

 2               THE COURT:    And your view --

 3               MR. BOCK:    -- we buy used cars.

 4               THE COURT:    Under your view of the TCPA, despite

 5    apparently no court in the country having agreed with you to

 6    this point except possibly the M3 decision, which we’ll look

 7    at more closely, your view of the TCPA is that someone who is

 8    offering to pay your client for his very important wisdom is

 9    violating the TCPA.

10               MR. BOCK:    Yes, they are --

11               THE COURT:    Okay.

12               MR. BOCK:    -- advertising the -- well, no court’s

13    ruled against me because I haven’t had a case --

14               THE COURT:    No, no, no --

15               MR. BOCK:    -- on this either but nobody’s --

16               THE COURT:    -- my question was much more simple.

17    You’re a national practitioner in this area.         I’ve seen your

18    name and that of your partner on many of the cases.          Are you

19    aware of any court in the country -- and I guess we’re dealing

20    exclusively with federal courts obviously -- district or

21    circuit, that have held that the TCPA prohibits someone

22    calling you and offering to pay you something?         And I’m not

23    talking about a scam, I’m talking about a --

24               MR. BOCK:    I understand.

25               THE COURT:    Okay.




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 1                MR. BOCK:    I’m not aware of any yet, Your Honor.

 2                THE COURT:    Well, doesn’t that tell you something?

 3                MR. BOCK:    No.

 4                THE COURT:    Why not?

 5                MR. BOCK:    There’s only a few that go the other way

 6    and they’re district court opinions.

 7                THE COURT:    What do you mean, go the other way?

 8                MR. BOCK:    That have said they’re not, that’s not an

 9    advertisement for some reason or not.

10                THE COURT:    But that didn’t involve -- that involved

11    the nature of the services.        That didn’t involve, nor was it a

12    material part of any court’s analysis, that there was an offer

13    to pay the plaintiff.

14                MR. BOCK:    Right.   Well, the people have argued

15    that.   The one with the $15 honorarium, I think it was the

16    Phillips case in the Northern District of Illinois --

17                THE COURT:    Okay, but I --
18                MR. BOCK:    -- but I think they argued --

19                THE COURT:    -- know it’s been argued --

20                MR. BOCK:    Oh, I’m sorry.

21                THE COURT:    -- I understand your views --

22                MR. BOCK:    I’m not aware of any case that’s ruled in

23    my favor yet on this.

24                THE COURT:    Any case, and whether it’s in your favor

25    or not --




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 1                MR. BOCK:    Okay.

 2                THE COURT:   -- but any court who has looked at the

 3    TCPA and says, oh, yeah, the statute was intended to prevent

 4    me, seller, or me, caller, from calling you and saying, hey, I

 5    want to give you $150 for something.

 6                MR. BOCK:    I’m not aware of a case like that yet.

 7                THE COURT:   Okay.   Okay.

 8                MR. BOCK:    But I know that if Dr. Fischbein had sent

 9    them a fax offering to sell them his opinions, it seems like

10    everybody would agree that’s an advertisement.

11                THE COURT:   Well, that may or --

12                MR. BOCK:    Why isn’t the flip side --

13                THE COURT:   -- may not be, but that’s not what’s

14    alleged, nor that’s not what’s at issue, nor does that have

15    anything to do with why the TCPA was enacted.         Just three

16    points --

17                MR. BOCK:    Well, why was the TCPA --

18                THE COURT:   -- off the top of my head in response to

19    yours.

20                MR. BOCK:    Well, no, I’m not arguing with Your

21    Honor, I’m just trying to make some points that aren’t in the

22    brief.

23                THE COURT:   Well, yes, but --

24                MR. BOCK:    The scourge of --

25                THE COURT:   -- let’s stick to -- forget the scourge.




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 1               MR. BOCK:    You know, why was the TCPA enacted?       Part

 2    of those, the robocalls, those are people’s houses --

 3               THE COURT:    I understand all that, I understand all

 4    that.

 5               MR. BOCK:    But the faxes --

 6               THE COURT:    But that has --

 7               MR. BOCK:    -- are to business --

 8               THE COURT:    Excuse me.

 9               MR. BOCK:    I’m sorry, Your Honor.

10               THE COURT:    That has nothing to do with your

11    allegations.    Nothing, okay?    You don’t even allege any

12    conduct like that, all right?       You allege one fax, okay, one

13    fax, one, that offered to pay your client money from a sending

14    entity that does not sell goods or services as part of it’s

15    business to your client or any of his patients.         Those are the

16    facts of your case as you have alleged them, okay?

17               MR. BOCK:    Okay.

18               THE COURT:    And whether your client might someday

19    want to call up Olson and say I’d like to buy your survey,

20    that’s irrelevant.      So let’s get back to your allegations and

21    why it’s a violation of the TCPA and doesn’t this -- name me

22    another case which has this fact pattern, which survived a

23    motion to dismiss under the TCPA, on your theory that -- and

24    when I say this fact pattern, I’m zeroing in on your theory

25    that by offering to pay your client money it ipso facto turned




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 1    it into a TCPA case.

 2                MR. BOCK:    I can’t, Your Honor.

 3                THE COURT:    Okay.    Okay.   And in fact, that would

 4    make your case much weaker than Mauthe, wouldn’t it?

 5                MR. BOCK:    Why?    Why would it be weaker?   Oh,

 6    because of the offer to --

 7                THE COURT:    Yes.

 8                MR. BOCK:    Well, in Mauthe --

 9                THE COURT:    Because that seems to be one of your --

10                MR. BOCK:    -- they weren’t offering to sell or buy.

11                THE COURT:    -- seems to be one of your theories

12    here.

13                MR. BOCK:    No, in Mauthe they weren’t offering to

14    buy or sell, it was the follow-up survey, how did we do, and

15    the judge said that’s not an advertisement because that’s

16    normal --

17                THE COURT:    But your point here is what they are

18    offering to buy or sell is specifically that they’re offering

19    to buy your client’s valuable opinion.

20                MR. BOCK:    And only his.     It says specifically on

21    there it’s just to him, anybody else that fills it out,

22    they’re not paying anybody else, only him.         They’ve decided

23    they want his opinion and he sells his time as -- you know,

24    they sent it to his business because of his business about his

25    business.    And the TCPA, you know, it uses broad words.        It




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 1   says any person, it doesn’t say advertising the sale of

 2   something to somebody who will buy it or might want to buy it.

 3   They’re making the statute too specific when what it was

 4   supposed to do was prevent and stop advertising by fax without

 5   permission.

 6              THE COURT:    Well --

 7              MR. BOCK:    If you want to send a fax, get

 8   permission.

 9              THE COURT:    I understand all of that.

10              MR. BOCK:    Okay.

11              THE COURT:    I understand.      How about how do you

12   respond to am I required to apply the FCC rule or may I first

13   look to whether the statute defines what happened here as an

14   unsolicited advertisement?

15              MR. BOCK:    I’m not sure.      That’s not something I

16   considered because I think our argument fits both.

17              THE COURT:    How does your argument fit both?       If we

18   go the FCC rule, okay, how does your argument make this a

19   violation of the statute under the FCC’s interpretation?

20              MR. BOCK:    That this fax, Your Honor, was sent with

21   a commercial purpose.      There’s a commercial aim.      It’s not

22   transactional or informational, it’s -- there’s a commercial

23   motivation.    It’s their business for their paying client to my

24   --

25              THE COURT:    Where does commercial motivation --




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 1                MR. BOCK:    That’s discussed --

 2                THE COURT:    -- take priority over the language of

 3    the statute requiring an advertisement for sale of goods or

 4    services?

 5                MR. BOCK:    In the definition it says commercial

 6    availability or quality.

 7                THE COURT:    Okay, where are we looking?

 8                MR. BOCK:    That’s the TCPA definition, 227(a)(5),

 9    definition of unsolicited advertisement.

10                THE COURT:    “Any material advertising the commercial

11    availability or quality of any proper goods” -- but I guess as

12    a simple matter of statutory construction, we’re talking about

13    advertisements.    How could Olson, in contacting your client,

14    be advertising the commercial availability or quality of any

15    property, goods or services that Olson might purport to sell?

16    That’s what the statute was designed to prevent.

17                MR. BOCK:    Well, I try not to disagree with judges,

18    but you said that --

19                THE COURT:    No, that’s what you’re here for.

20                MR. BOCK:    You said the statute’s intended to

21    prevent them from trying to sell something to my person, my

22    plaintiff, and I disagree with that.        I don’t think that’s

23    what the statute says.

24                THE COURT:    Well, what we’re talking about -- and

25    you’re here to disagree with me, don’t worry about it.          But




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 1    the act provides a definition:       “Advertisement as any material

 2    advertising the commercial availability or quality of any

 3    property, goods or services.”       How could Olson be advertising

 4    to Dr. Fischbein the commercial availability or quality of any

 5    property, goods or services, even under your definition, that

 6    Dr. Fischbein could sell them?       How could somebody purporting

 7    to buy something be calling the purported seller and

 8    advertising what the purported seller has for them to buy?

 9    That makes --

10               MR. BOCK:    I understand what you’re saying.

11               THE COURT:    Yes.

12               MR. BOCK:    That’s the how are they advertising

13    Fischbein’s services to himself.        They’re telling him that he

14    can sell his opinions --

15               THE COURT:    Well, they’re not advertising

16    Fischbein’s services to himself.        If your point is that they

17    want to buy them, they’re obviously advertising Fischbein’s

18    services to them.      How is that possible?

19               MR. BOCK:    It’s advertising the commercial

20    availability or quality; they’re making him aware of a

21    commercial opportunity to sell them his opinions.         They’re

22    also making them -- him aware of the availability of their

23    commercial thing.      It’s not that they have --

24               THE COURT:    Well, they don’t have any commercial

25    things.   They’re not asking him to buy --




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 1              MR. BOCK:    No, I know that.

 2              THE COURT:    You can’t have it -- I guess what I’m

 3   saying is you can’t have it both ways, right?          If you’re

 4   saying that the violation of the statute is triggered by them

 5   offering to buy something from him and that that’s the

 6   commercial transaction, then what you’re telling me to focus

 7   on is what could conceivably be advertised in that commercial

 8   transaction.    Because you’ll agree that the words commercial

 9   activity do not subsume the prerequisite of whether or not

10   it’s an advertisement, correct?          Commercial activity falls

11   within the discussion of an advertisement.

12              MR. BOCK:    Right.

13              THE COURT:    Okay.   So under your theory, what is

14   Olson advertising to Dr. Fischbein?          What --

15              MR. BOCK:    Well, two things --

16              THE COURT:    -- are they making him aware of that he

17   already doesn’t know -- that he doesn’t already know?

18              MR. BOCK:    That they will pay him -- one of them is

19   that they will pay him to participate in a survey, and pay him

20   and only him, based on his professional knowledge; they will

21   buy his knowledge from him to sell it somebody else.

22              THE COURT:    And that offends him?

23              MR. BOCK:    Well, I don’t know if it offends him.

24   You know, doctors and pharmacies still get tons of junk faxes

25   because companies know that their fax machines are ready to




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 1    receive them.    Because of HIPAA they can’t use email and that

 2    sort of thing.

 3                THE COURT:    Right.

 4                MR. BOCK:    I don’t know if these offend them,

 5    because I haven’t seen him in a deposition, but I have watched

 6    doctors and pharmacists tell me or say in a deposition that,

 7    yeah, I’m sick of getting these things.        We have a fax

 8    machine, we only want to receive the things for our business -

 9    -

10                THE COURT:    Okay.

11                MR. BOCK:    -- we don’t want to receive their

12    business.    They could send it in the mail, this isn’t a claim

13    that they can’t communicate --

14                THE COURT:    Just don’t use a glassine envelope.

15                MR. BOCK:    Well, it if has patient information,

16    right, yeah.

17                THE COURT:    Okay --

18                MR. BOCK:    You know, the other thing is -- one other

19    point --

20                THE COURT:    -- I’m not -- this is for fleshing out -

21    -

22                MR. BOCK:    I know, I understand.

23                THE COURT:    -- how I’m struggling --

24                MR. BOCK:    I’m not taking it personally --

25                THE COURT:    -- I’m not trying to give you a hard




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  1   time.

  2              MR. BOCK:    -- I just don’t want to make you mad by -

  3   -

  4              THE COURT:    You don’t make me mad.

  5              MR. BOCK:    -- being argumentative.

  6              THE COURT:    There’s nothing you can do to make me

  7   mad.    But --

  8              MR. BOCK:    One other --

  9              THE COURT:    -- you can see how I’m struggling with

10    this.

11               MR. BOCK:    Oh, I understand --

12               THE COURT:    Yes.

13               MR. BOCK:    -- I understand.

14               THE COURT:    Okay.

15               MR. BOCK:    One other point is this -- the statute

16    doesn’t -- it says any person, it doesn’t say the right

17    person.    So it doesn’t become an advertisement based on who’s

18    holding it or who receives it.

19               THE COURT:    Do you agree that the fax was a survey?

20               MR. BOCK:    No.   No, it’s promoting a survey.      The

21    survey is something you have to go find somewhere else.

22               THE COURT:    Okay.

23               MR. BOCK:    It’s advertising this opportunity,

24    commercial opportunity.

25               THE COURT:    And the commercial opportunity is,




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 1    again, for your client to be paid to offer his opinion.

 2               MR. BOCK:    That’s one of them.    I think it’s also an

 3    advertisement for them to send faxes to people saying that

 4    they’re in business for paying customers conducting surveys.

 5               THE COURT:    Okay.   So I’m not sure -- I forgot how

 6    you might have answered my question.        Am I to first look to

 7    the FCC rule or am I to focus first on the language of the

 8    TCPA?

 9               MR. BOCK:    I think you first read the TCPA language

10    --

11               THE COURT:    Okay.   And do I then only go to the FCC

12    rule if I find that the TCPA language is ambiguous?

13               MR. BOCK:    Well, that depends on which appellate

14    justice -- judge you ask, right?        I don’t know.    I think that

15    you --

16               THE COURT:    Well, there’s no appellate judges here.

17               MR. BOCK:    Because I don’t think they conflict, I

18    don’t think it’s --

19               THE COURT:    Okay.

20               MR. BOCK:    -- an issue in this case.       But if the FCC

21    opinion conflicts with the unambiguous reading of the statute,

22    I think that is a Hobbs Act problem, and somebody has to

23    initiate a Hobbs Act challenge, even though the FCC has

24    exceeded it’s authority by saying something that contradicts

25    the unambiguous language.




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 1                THE COURT:    Then let’s turn to Ms. Southall’s point.

 2    Her points are, one, under the plain language of the TCPA this

 3    was not an advertisement.         So the FCC rule aside, it’s not an

 4    advertisement, but that even I were to analyze the FCC rule,

 5    the complaint should still be dismissed because the only way

 6    that it could be an advertisement is that it would have to

 7    serve as a pretext to an advertisement under the FCC rule,

 8    right?   The rule looks at three types of communications:

 9    Promotions for goods or services, informational faxes and

10    surveys.    So let me understand your argument with respect to

11    the rule.    Are you contending that it is one of those three?

12    Obviously you’re not contending that it’s an informational

13    fax, are you?

14                MR. BOCK:    No, right, correct.

15                THE COURT:    Okay.    Are you -- so you are contending

16    that the fax itself is a promotion for goods or services?

17                MR. BOCK:    Yes.

18                THE COURT:    Okay.    And you are contending it is not

19    a survey?

20                MR. BOCK:    True, we are not -- we did not allege

21    this is a survey.

22                THE COURT:    Okay, so you are contending what the

23    Olson folks are calling a survey is really a promotion for

24    goods or services.       So you would have me look at the FCC rule

25    under that first prong, if you will, promotion for goods or




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 1    services is number one; informational fax, number two; survey,

 2    number three.     You would have me assess the rule in the

 3    context of this fax being a promotion for a good or service?

 4               MR. BOCK:     Yes.

 5               THE COURT:     Okay.    And so you would not have me even

 6    consider -- and I want you to think this through because I

 7    thought it was -- I think you get into this in your brief.

 8    Are you not arguing that this is therefore a pretext to an

 9    advertisement?       Because I believe the pretext argument kicks

10    in only when we’re talking about a survey, is that correct?

11    Connor, would you agree with that?

12               THE CLERK:     (Indiscern.).

13               THE COURT:     Okay.    Okay.   So it’s not necessarily

14    limited.     Okay.   Even though that’s the way the rule is

15    written.     Okay.   So I think what Mr. Maloney was saying to me,

16    Mr. Bock, is that in Sandusky, he reminded me, that they did a

17    pretext analysis with respect to an informational fax.          So
18    let’s assume that the pretext analysis we can do in the

19    promotion of goods or services, right?         So the survey, in your

20    view, promotes goods or services.          And again, please explain

21    to me how.    And I’m sorry if I’m asking you to be repetitive.

22               MR. BOCK:     Oh, no, that’s okay.     So our argument is

23    the fax advertises the commercial availability or quality of

24    plaintiff’s services.

25               THE COURT:     Okay.




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 1               MR. BOCK:    Or that it advertises the commercial

 2    availability of their services that they sell to other people.

 3               THE COURT:    And that would be as a pretext?

 4               MR. BOCK:    That would be as an unsolicited

 5    advertisement of their -- availability of their -- commercial

 6    availability of their services.

 7               THE COURT:    That they sell to other people.

 8               MR. BOCK:    Yep.

 9               THE COURT:    Not to your client or his patients.

10               MR. BOCK:    Right.

11               THE COURT:    Okay.

12               MR. BOCK:    It shouldn’t make a difference that they

13    send a fax to everybody but their customers.

14               THE COURT:    Well, remember, the purpose of the TCPA

15    is not to eliminate annoying faxes --

16               MR. BOCK:    Right.

17               THE COURT:    -- it’s to eliminate those faxes or

18    communications, telephone calls, for example, where people

19    trying to sell something are calling you.        Of course there’s a

20    whole separate category, there’s political pollsters, there’s

21    charitable, there’s all sorts of exemptions, okay.          But why

22    would you have me interpret the TCPA or the intent of Congress

23    to be to prevent someone from contacting you when the person

24    contacting you sells it’s goods or services to third parties?

25               MR. BOCK:    Because it says don’t sent advertisements




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 1    without permission, and that’s an advertisement of the

 2    commercial availability of theirs.        But we have this

 3    fundamental disagreement that we won’t -- you’re the judge so

 4    we won’t --

 5               THE COURT:    No, no, no --

 6               MR. BOCK:    -- agree.

 7               THE COURT:    -- our disagree --

 8               MR. BOCK:    I don’t agree it has to be trying to sell

 9    my guy something --

10               THE COURT:    Okay.

11               MR. BOCK:    -- they shouldn’t -- people should not --

12    under the words of the statute, they should not be able to

13    send faxes saying we want to buy your used office equipment,

14    we want to do this, we want to buy your house, we want to buy

15    your used car, we want to buy your presence at a seminar or

16    anything else --

17               THE COURT:    Okay.

18               MR. BOCK:    -- it shouldn’t -- that’s the --

19               THE COURT:    If I were to disagree with you and find

20    that in fact that’s not really what the statute is designed to

21    prevent, i.e. someone calling to buy your stuff.         And again,

22    we’re talking about legitimate calls.        There’s no allegation

23    that this is a scam, that they wouldn’t have paid you the

24    money, right --

25               MR. BOCK:    Right, correct.




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 1               THE COURT:    -- I mean, we’re separating that out

 2    from scams.    If I were to disagree with you on that -- and

 3    this is a Q&A, my mind’s not made up.        If I were to disagree

 4    with you on that, does that mean that you lose the case?

 5               MR. BOCK:    Well, if you disagree that an

 6    advertisement to buy my client’s time or opinions isn’t an

 7    advertisement, then we have another argument, which is that

 8    they’re advertising the availability of their services, albeit

 9    things that they sell to special -- you know, for only

10    pharmaceutical --

11               THE COURT:    Sure.

12               MR. BOCK:    -- companies.

13               THE COURT:    To their own clients.

14               MR. BOCK:    Yeah.

15               THE COURT:    Okay.   So let me ask you the question

16    with respect to -- well, I’ll call that your second theory.             I

17    don’t disparage it, I mean, that’s your second theory; you

18    have the one theory we’ve dealt with, now we’re on to the

19    second theory of so that they can sell to their own clients,

20    not to your client.     Have any courts, to your knowledge, found

21    that theory to be a violation of the TCPA where the -- and I

22    won’t call them the selling party, but the contacting party is

23    seeking information from the recipient of the fax, and that

24    information, whether I’m paying you for it or not, is then

25    used to help the sender of the fax to make money with it’s own




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 1    clients.   Have there been any judicial decisions saying that

 2    that’s a violation of the statute under those facts?          To your

 3    knowledge.

 4               MR. BOCK:    There’s been a few courts to deny motions

 5    to dismiss --

 6               THE COURT:    On that argument?

 7               MR. BOCK:    Yeah.    The one I’m thinking of is Mussat.

 8               THE COURT:    Okay.

 9               MR. BOCK:    No, I lost in the Michigan -- District

10    Court of Michigan on Fulton v. Enclarity; it’s against

11    LexisNexis.

12               THE COURT:    Okay.

13               MR. BOCK:    And that’s briefed and waiting for an

14    opinion from the Sixth Circuit.

15               THE COURT:    Okay.

16               MR. BOCK:    Meanwhile, somebody then filed a case in

17    the Northern District of Illinois, and that judge there denied

18    the motion to dismiss.     And the facts there said here’s the

19    information we have about you, please update it so we can make

20    sure the database that we sell to people is correct.

21               THE COURT:    Okay.

22               MR. BOCK:    And so that’s a similar --

23               THE COURT:    And the court --

24               MR. BOCK:    -- opinion to what you’re saying.

25               THE COURT:    The court denied a motion to dismiss on




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 1    those facts.    And did the court -- and what opinion was that

 2    again?

 3               MR. BOCK:    It’s Mussat, M-U-S-S-A-T, Northern

 4    District of Illinois.     I don’t --

 5               THE COURT:    Relatively recent?

 6               MR. BOCK:    -- have the cite --

 7               THE COURT:    Last couple years?

 8               MR. BOCK:    It was either this year or late last

 9    year.

10               THE COURT:    Okay.   What was the court’s reasoning

11    there, if you recall?

12               MR. BOCK:    I don’t recall.

13               THE COURT:    And if you don’t recall -- we’ll pull

14    the opinion, we’ll look at it.

15               MR. BOCK:    Yeah, I don’t recall.

16               THE COURT:    I’ve seen the name of the case.      I

17    didn’t -- but I have not read that opinion.         Okay, all right,

18    that’s fair.    All right.    Is there anything -- I have some

19    more questions, but I don’t -- if there’s other argument you

20    want to make, I want to get back into your flow there and I’ll

21    --

22               MR. BOCK:    No, I just haven’t seen any opinions that

23    come to mind that say a fax is an advertisement depending on

24    who receives it, you know, who’s the target audience.

25               THE COURT:    Let me ask you a more specific question,




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 1    and I don’t know if your prior answer satisfies this question;

 2    it might, it might not.     So in your briefing, one of your

 3    arguments is that the fax served as a pretext for future

 4    advertisements because Olson’s privacy policy stated that

 5    personal information may be provided to its clients if that

 6    possibility is disclosed at the outset of the survey and the

 7    survey participant, meaning Dr. Fischbein, consents to the

 8    defendants doing that.     How could the fax, in this case, serve

 9    as a pretext for future advertisements if Dr. Fischbein did

10    not participate in the survey and his consent to disseminate

11    that information would have been required?

12               MR. BOCK:    So it would be a pretext only to people

13    who participate?

14               THE COURT:   So --

15               MR. BOCK:    Is that what you mean?

16               THE COURT:   -- did Dr. Fischbein --

17               MR. BOCK:    No, he didn’t.

18               THE COURT:   Okay, then it’s not a pretext as to him?

19               MR. BOCK:    It’s still a pretext to get people to

20    respond, and thereby you know that they are people who

21    respond.

22               THE COURT:   But if you said it’s only a pretext with

23    respect to those people who participate, and you’ve just told

24    me Dr. Fischbein didn’t participate --

25               MR. BOCK:    Yeah, I didn’t mean to say that if I did.




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  1              THE COURT:    Okay.

  2              MR. BOCK:    I didn’t mean to say it’s only the people

  3   who participate --

  4              THE COURT:    Okay.

  5              MR. BOCK:    -- to whom it is a pretext, but the

  6   people who do participate have their information -- you know,

  7   they said they won’t directly market --

  8              THE COURT:    Well, the way I understand it, that Dr.

  9   Fischbein would be offered the opportunity to provide his

10    consent.

11               MR. BOCK:    That’s, yeah, one part of it.

12               THE COURT:    And if he didn’t provide his consent,

13    how could it be a pretext for future advertisements?

14               MR. BOCK:    Well, it says they won’t -- I mean, this

15    might not be directly responsive, but it says they won’t

16    directly market products.        It doesn’t imply that they would

17    indirectly market them.      So they won’t tell -- my reading of

18    these words on their privacy policy is that they won’t tell

19    somebody Dr. Fischbein participated, but they might tell them

20    that his medical practice is somebody that likes to get

21    information or something like that.        But I don’t know whether

22    they do that, I just know that their privacy policy makes it

23    possible for them to indirectly give your information so

24    people can indirectly market it to you, so not to Dr.

25    Fischbein in particular individually, but to his practice




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 1    generally --

 2               THE COURT:    Are we talking about the names of Dr.

 3    Fischbein’s patients?

 4               MR. BOCK:    No.

 5               THE COURT:    Okay.

 6               MR. BOCK:    No.

 7               THE COURT:    So we’re just talking about Dr.

 8    Fischbein.

 9               MR. BOCK:    Right.

10               THE COURT:    Okay.    So if Dr. Fischbein provided his

11    consent, what are you then saying could happen?

12               MR. BOCK:    Oh, if he consented, then they -- they’re

13    saying we won’t -- people won’t get your personal information

14    from us to directly market to you unless you give us your

15    permission.

16               THE COURT:    To directly market to you.      Okay.   So if

17    Dr. Fischbein, and he didn’t, give his personal information,

18    then you’re saying that Olson, by the terms -- as you’ve

19    alleged it and as you’ve attached it to your complaint, by the

20    terms of their own document, could not advertise anything to

21    Dr. Fischbein, correct?

22               MR. BOCK:    Well --

23               THE COURT:    And the question then that begs is how

24    could this be a pretext for future advertisements if it’s

25    contingent upon your client’s consent and he didn’t give it?




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 1               MR. BOCK:    It would be -- yeah.     The one part is the

 2    direct marketing, so direct marketing to Dr. Fischbein versus

 3    marketing to -- say his medical practice has 50 people.

 4    They’re not saying they won’t sell his information so that

 5    somebody knows that that practice will --

 6               THE COURT:    I don’t -- you’re dodging the question,

 7    I think.

 8               MR. BOCK:    Okay, I’m sorry.

 9               THE COURT:    That’s okay.    And if I -- Ms. Southall,

10    am I interpreting this incorrectly?        Because I may be.

11               MS. SOUTHALL:      No, you’re not.

12               THE COURT:    Okay.    So as I understand it, before

13    Olson could advertise or provide to it’s clients anything --

14    let me read this correctly.        “Defendant’s privacy policy

15    states that if personal information may be provided to Olson’s

16    clients if that possibility is disclosed at the outset of the

17    survey and the survey participant consents.”         Okay.   So we

18    know that Dr. Fischbein did not consent.        If Dr. Fischbein did

19    not consent or participate in the survey, how could the fax in

20    this case serve as a pretext for future advertisements?

21               MR. BOCK:    It would only be if he did participate.

22               THE COURT:    Did he?

23               MR. BOCK:    No.

24               THE COURT:    Okay.    So you’ve just said that this --

25    therefore, on the facts as you allege them, this could not be




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 1    a pretext for future advertisements.

 2               MR. BOCK:    I hope not, but --

 3               THE COURT:    Well --

 4               MR. BOCK:    It’s like it could be an advertisement

 5    even if he doesn’t buy something.        Say they were advertising

 6    to sell him something, he doesn’t buy it, it’s still a -- they

 7    tried to -- they still advertised to him.        They’re trying to

 8    get people to respond to the survey.        The people who do

 9    respond apparently will -- are going to be open to indirect

10    marketing --

11               THE COURT:    If they consent.

12               MR. BOCK:    No, that’s the direct marketing.

13               THE COURT:    How are you defining indirect marketing?

14               MR. BOCK:    They say we will -- personal information

15    will never be used to directly market products, and then they

16    give a definition of this personally identifiable information,

17    it says, “To identify, contact or locate a single person or to

18    identify an individual.”      So that’s -- the directly would be

19    to Fischbein himself.     I don’t know if this company does this,

20    but even under the words of this, if you participate --

21               THE COURT:    Well, wait a minute --

22               MR. BOCK:    -- they can sell a list and just don’t

23    have the person’s name on there.        But it does say --

24               THE COURT:    For purposes of your complaint, don’t

25    you need to know if this company does this or not?          You just




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 1    said you don’t know if this company does this or not.          Have

 2    you not made the allegations that they have?

 3               MR. BOCK:    That they do sell the information?

 4               THE COURT:    Yes.

 5               MR. BOCK:    Well, they say that they won’t sell it

 6    under certain circumstances.       They will never sell your

 7    personally identifiable information, which implies that they

 8    would sell the stuff that isn’t personally identifiable.

 9               THE COURT:    I got to get back to this, and I do so

10    at my own peril.     I want to look at Sandusky.      The Sixth

11    Circuit held that to be an ad, the fax must promote goods or

12    services that are for sale, promote goods or services that are

13    for sale, and the sender must have profit as an aim.          Okay.

14    And going back to your argument, you are saying that, one, the

15    fax was promoting goods or services -- the fax was somehow

16    promoting your client’s services for sale, or alternatively,

17    that this was a pretext for advertisements to Olson’s clients,

18    correct?

19               MR. BOCK:    Well, the pretext part would be a pretext

20    for getting -- for sending future advertisements.

21               THE COURT:    To Dr. Fischbein?

22               MR. BOCK:    Yeah.    That’s that argument.

23               THE COURT:    Okay.

24               MR. BOCK:    So the quote I have from Sandusky is --

25               THE COURT:    Let’s stick with the one I have --




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 1               MR. BOCK:    -- to be bought or sold --

 2               THE COURT:    -- it makes for a better question.       “To

 3    be an ad, the fax must promote goods or services that are for

 4    sale.”   And you still read that as an interpretation of the

 5    statute that could mean that it would be somehow legally

 6    possible for Olson, in contacting your client, to be at the

 7    same time promoting the sale of his services.

 8               MR. BOCK:    To them, yeah.

 9               THE COURT:    Okay.

10               MR. BOCK:    I mean, they’re telling him about the

11    commercial -- advertising the commercial availability or

12    quality --

13               THE COURT:    Why would they need to tell him about

14    the commercial availability of his services?         He sells his

15    services, as you point out, every day to his clients.          What

16    part of the commercial availability of his services doesn’t he

17    get?

18               MR. BOCK:    That they’re willing to pay him $150 to

19    do a 45 minutes survey based on his professional knowledge of

20    neurological issues.

21               THE COURT:    And that’s something that never would

22    have occurred to him, absent their fax?

23               MR. BOCK:    I don’t know.    I mean, they’re -- whether

24    or not he knows about it, they’re the ones sending him a fax

25    offering to buy his services.




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 1               THE COURT:    Okay.

 2               MR. BOCK:    That’s the bought or sold in the Sandusky

 3    quote --

 4               THE COURT:    I get you.

 5               MR. BOCK:    -- I think it is flip sides of the same

 6    coin.   It doesn’t matter which way the sale will occur --

 7               THE COURT:    Well, it must matter because on the one

 8    hand, you know, the TCPA has been, can we say, actively

 9    litigated for 27 years, actively litigated.         And there are 93

10    judicial districts in America.        And you’re telling me that you

11    are unaware of any federal court case which has interpreted

12    the TCPA in that fashion.

13               MR. BOCK:    I don’t -- yeah.

14               THE COURT:    Okay.

15               MR. BOCK:    Possibly.

16               THE COURT:    Where’s the interaction, if any, the

17    interplay, if any, between that theory and Rule 11?

18               MR. BOCK:    I mean, this is an advertisement, I don’t

19    --

20               THE COURT:    I know, I mean --

21               MR. BOCK:    -- there haven’t been --

22               THE COURT:    -- don’t you have to have some good

23    faith basis to assert that by contacting someone and offering

24    to pay them for their service you’ve violated the TCPA?          Don’t

25    you have to have -- and after 27 years of extensive litigation




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 1    and countless individual and class actions in this area, that

 2    there would have to be something upon which you could base

 3    such a theory?

 4               MR. BOCK:    Well, there’s a couple parts to that.

 5               THE COURT:    Okay.

 6               MR. BOCK:    First is that the statute has not been

 7    actively litigated since it was enacted.

 8               THE COURT:    Really?

 9               MR. BOCK:    No.

10               THE COURT:    Have you seen --

11               MR. BOCK:    It wasn’t until much later --

12               THE COURT:    Have you seen the docket in our court?

13               MR. BOCK:    Well, I’ve just been working on these

14    cases for a long time --

15               THE COURT:    Okay.

16               MR. BOCK:    -- so I know --

17               THE COURT:    Well, you know what, I’m going to defer

18    to you.

19               MR. BOCK:    I’m not saying I’m an expert, I’m saying

20    --

21               THE COURT:    No, but you’ve seen them more than I

22    have.   I’ve seen them in many contexts in four years, but --

23    and I’m not being sarcastic -- I think you have a longer view,

24    that’s correct.

25               MR. BOCK:    And I don’t know when they started




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 1    sending faxes offering doctors the ability to be paid to

 2    participate in a survey.      I don’t know that it occurred prior

 3    to a few years ago.

 4               THE COURT:    That’s a good point also.      All right.

 5               MR. BOCK:    I know there’s an opinion from a judge in

 6    this district that said advertising to higher appellate

 7    specialist lawyers isn’t an advertisement.

 8               THE COURT:    Is not?

 9               MR. BOCK:    Because it’s an employment opportunity or

10    something.

11               THE COURT:    Okay.

12               MR. BOCK:    There’s the Phillips case from the

13    Northern District is an older case, but other than that, there

14    haven’t been that many cases.       I think it’s a -- not only do I

15    think it’s a fair interpretation of the words of the statute,

16    I think it’s the only correct one, that it doesn’t matter

17    whether you’re trying to sell or to buy, if you advertise a

18    commercial opportunity --

19               THE COURT:    I hear you --

20               MR. BOCK:    -- you know, that’s --

21               THE COURT:    -- I hear you.

22               MR. BOCK:    -- the Turza case --

23               THE COURT:    I hear you, but in the context of at

24    least my understanding of the purposes behind this law, I’m

25    just having a difficult time personally squaring that




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 1    interpretation with Congress’ intent in this area, at least as

 2    I understood it prior to this morning.        That’s all.    But as

 3    you point out, we have a disagreement on that, but I think as

 4    you’ve also pointed out, while that disagreement, if I end up

 5    deciding that way, may hurt your case, it won’t be dispositive

 6    to your case on your second theory of the pretext, correct?

 7               MR. BOCK:    Correct.

 8               THE COURT:    Okay.

 9               MR. BOCK:    Or the advertising of their stuff.

10               THE COURT:    So let’s turn just -- so the fax directs

11    Dr. Fischbein to Olson’s website portal so that he can log in

12    and complete the survey.        And what services do you allege the

13    website portal advertises?       What goods or services do you

14    allege the website itself advertises?

15               MR. BOCK:    None.

16               THE COURT:    Okay.    And on the conversion claim, what

17    facts do you allege that allow me to infer that Olson

18    willfully interfered with your client’s control over his fax

19    machine, paper and toner?

20               MR. BOCK:    That they sent him a fax on purpose and

21    commandeered his fax machine and stole his paper and toner for

22    their information -- their message.

23               THE COURT:    How much value are you placing on -- how

24    much paper did he use in that one fax?

25               MR. BOCK:    I believe it’s just one page.




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 1                THE COURT:    Okay, so we have one page of paper.        And

 2    how would you break down the amount of toner that you think

 3    was used to print that one page of paper?

 4                MR. BOCK:    A minimal amount.    I don’t know how much.

 5                THE COURT:    Cents?

 6                MR. BOCK:    Let’s say less than a dollar for the

 7    piece of paper and the toner.        We also allege that it wasted

 8    his time.

 9                THE COURT:    How much time do you think it took for

10    him to read one page, if he read it at all?         Do you think he

11    spent nearly as much time reading that one page as he did

12    hiring counsel?

13                MR. BOCK:    I doubt that it took him very much time.

14                THE COURT:    Okay.

15                MR. BOCK:    Some courts have said you can’t have a

16    conversion claim for a de minimis injury and some courts have

17    said you can if you’re in a, you know this -- I don’t know

18    whether they were all cited but there’s cases going both ways

19    on that.

20                THE COURT:    Okay.    Okay.   Connor, was there anything

21    further that you think we should inquire?         Okay.   Anything

22    further you’d like to say?

23                MR. BOCK:    No, Your Honor.

24                THE COURT:    Ms. Southall, anything further you’d

25    like to say?




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 1              MS. SOUTHALL:    No, Your Honor.

 2              THE COURT:    All right.      Well, as I say -- thanks for

 3   the FCC petition, petition to the FCC.         We’ll look at this.

 4   And not knowing the breadth of the Third Circuit’s potential

 5   opinion, okay, in Judge Stengel’s case, and I, like you, see

 6   ways that this case is different.         Candidly, I don’t know that

 7   they’re better for you, but they’re different.         And I do

 8   disagree with your theory, and in a vacuum, if this case

 9   wasn’t pending upstairs, this would probably be a fairly

10   straightforward decision for me, okay.

11         But there are these issues of Chevron deference, which

12   has been a topic of concern to our circuit and other circuits.

13   And whether this Hobbs Act is something that comes into play

14   here, whether I look at the FCC rule first or whether, as the

15   Sixth Circuit did, I decide that I don’t need to, and

16   realizing the potential for a precedential opinion from our

17   circuit, which has that court weighing in on either an

18   agreement with or disagreement with the Fourth Circuit, among

19   others, it just doesn’t make sense for me to try to anticipate

20   how the court’s going to come out on all that.         And given that

21   -- and I know you’re involved in that other case, I mean, I’m

22   taking this case off a fast track, and I never like to do

23   that.   But it just doesn’t make much sense.        And I think I’m

24   going to be in a much better position to see if I’m missing

25   something by having the Third Circuit kind of lay this all




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 1    out.   And Mr. Maloney and I have talked about this.         We came

 2    to this conclusion a bit grudgingly because I don’t like to

 3    put things in suspense.     This case actually presents a very

 4    valid reason for me doing so, and I’d like to do that.          Let me

 5    enter an order to that effect.

 6           We’ll monitor the Third Circuit, but clearly, when the

 7    opinion comes down, perhaps we’ll put this in the order as

 8    well, within X days of that opinion coming down, maybe have

 9    both of you submit -- and it could even be a letter brief --

10    as to how you think the Third Circuit’s opinion affects the

11    pending motion.

12               MR. BOCK:    Okay.

13               THE COURT:   Is that okay?     Again, not my first

14    choice, but given the circumstances, it just -- because even

15    if I’m right, even if my decision is consistent with the core

16    of the Third Circuit’s view of Judge Stengel’s decision, there

17    may be other issues that the circuit touches on that I will

18    have needed to address.

19               MS. SOUTHALL:    That makes sense.

20               THE COURT:   Okay.    Okay.   I appreciate that.    I

21    appreciate you coming in.       I know you’ve been traveling.

22               MR. BOCK:    Thank you for having me.

23               THE COURT:   And I’m sorry we had to do it this week.

24    It wasn’t my favorite week to drag lawyers into a courtroom,

25    but it worked for both of you.       So let’s do it that way, and




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  1   then, as I say, Connor, we can talk about whether it would

  2   make sense for the order to then require counsel, in case we

  3   forget it -- Mr. Maloney will be off to the high-flying

  4   corporate law world, he won’t care, but I’ll be here still

  5   having to figure it out.      Let’s do that, all right?

  6              MS. SOUTHALL:    Thank you.

  7              THE COURT:    Have a good holiday, holiday week, and

  8   let’s hope the circuit gets to this by the fall.          I think

  9   you’ll probably -- if it’s going to be precedential, you’ll

10    have an argument date.      Not you, Mr. Bock.     And hopefully, if

11    that’s in the fall, we can get a decision by the end of the

12    year.   Depends on the panel.      All right.

13               MR. BOCK:    Thank you, Your Honor.

14               THE COURT:    Thanks to both of you.

15               MS. SOUTHALL:    Your Honor, one last thing --

16               THE COURT:    Yes, ma’am, sorry.

17               MS. SOUTHALL:    No, I wanted to let you know that Gia

18    DeMarco says hello.

19               THE COURT:    Oh, yes, yes, yes, she’s in Newark now.

20          (Court adjourned)

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  1                             CERTIFICATION
  2    I certify that the foregoing is a correct transcript from the
  3    electronic sound recording of the proceedings in the above-
  4    entitled matter.
  5
  6
  7                                                   8/2/18
  8
  9    ___________________________                 __________
 10    Signature of Transcriber                       Date




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